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                                                                                            INVOICE
                                                                                   From     Public Catalyst
                                                                                            99 Wood Avenue South, Suite 301
                                                                                            Iselin, NJ 08830

                                                                                            FEIN #: XX-XXXXXXX




Invoice ID      Texas M.D. Monitoring 19-07                                   Invoice For   Texas M.D. Monitoring
Issue Date      03/04/2020

Due Date        04/04/2020

Subject         Texas Monitoring Team: February 2020




Item Type       Description                                                      Quantity             Rate             Amount

Service         Texas Permanent Injunction - 02/01/2020 - Document                  2.00           $325.00             $650.00
                Review/Data Analysis/Verification Work / Diane Scott


Service         Texas Permanent Injunction - 02/01/2020 - Document                  3.00           $395.00           $1,185.00
                Review/Data Analysis/Verification Work / Megan Annitto


Service         Texas Permanent Injunction - 02/01/2020 - Project                   2.50           $395.00             $987.50
                Management & Planning / Lisa Taylor


Service         Texas Permanent Injunction - 02/01/2020 - Document                  0.75           $425.00             $318.75
                Review/Data Analysis/Verification Work / Kevin Ryan


Service         Texas Permanent Injunction - 02/01/2020 - Document                  1.75           $425.00             $743.75
                Review/Data Analysis/Verification Work / Kevin Ryan


Service         Texas Permanent Injunction - 02/02/2020 - Document                  7.50           $325.00           $2,437.50
                Review/Data Analysis/Verification Work / John Ducoff


Service         Texas Permanent Injunction - 02/02/2020 - Project                   2.00           $325.00             $650.00
                Management & Planning / David Howard


Service         Texas Permanent Injunction - 02/02/2020 - Project                   1.00           $395.00             $395.00
                Management & Planning / Megan Annitto


Service         Texas Permanent Injunction - 02/02/2020 - Document                  0.75           $425.00             $318.75
                Review/Data Analysis/Verification Work / Kevin Ryan


Service         Texas Permanent Injunction - 02/03/2020 - Project                   1.50           $395.00             $592.50
                Management & Planning / Lisa Taylor


Service         Texas Permanent Injunction - 02/03/2020 - Communication or          1.25           $250.00             $312.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Catherine Smith




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Service         Texas Permanent Injunction - 02/03/2020 - Document                3.00          $250.00           $750.00
                Review/Data Analysis/Verification Work / Catherine Smith


Service         Texas Permanent Injunction - 02/03/2020 - Monitoring              1.00          $175.00           $175.00
                Administration, Document Control, Research, Analysis
                (Administrator Only) / Maria Lundgren


Service         Texas Permanent Injunction - 02/03/2020 - Communication or        1.75           $85.00           $148.75
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 02/03/2020 - Communication or        1.00           $85.00            $85.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 02/03/2020 - Project                 3.50           $85.00           $297.50
                Management & Planning / Natalie Nunez


Service         Texas Permanent Injunction - 02/03/2020 - Project                 1.50          $395.00           $592.50
                Management & Planning / Eileen Crummy


Service         Texas Permanent Injunction - 02/03/2020 - Communication or        1.50          $325.00           $487.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / John
                Ducoff


Service         Texas Permanent Injunction - 02/03/2020 - Communication or        1.50          $395.00           $592.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Claudia Tahan


Service         Texas Permanent Injunction - 02/03/2020 - Project                 6.50          $395.00      $2,567.50
                Management & Planning / Claudia Tahan


Service         Texas Permanent Injunction - 02/03/2020 - Communication or        1.50          $395.00           $592.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Charmaine Thomas


Service         Texas Permanent Injunction - 02/03/2020 - Communication or        1.50          $395.00           $592.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Jody
                Drebes


Service         Texas Permanent Injunction - 02/03/2020 -                         2.00          $395.00           $790.00
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Charmaine Thomas


Service         Texas Permanent Injunction - 02/03/2020 - Project                 4.50          $395.00      $1,777.50
                Management & Planning / Jody Drebes


Service         Texas Permanent Injunction - 02/03/2020 - Communication or        0.50          $395.00           $197.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Charmaine Thomas




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Service         Texas Permanent Injunction - 02/03/2020 - Communication or         2.00         $395.00           $790.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 02/03/2020 - Project                  7.00         $395.00      $2,765.00
                Management & Planning / Megan Annitto


Service         Texas Permanent Injunction - 02/03/2020 - Communication or         2.50         $325.00           $812.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Melea Weber


Service         Texas Permanent Injunction - 02/03/2020 - Document                 3.00         $325.00           $975.00
                Review/Data Analysis/Verification Work / Nadia Sexton


Service         Texas Permanent Injunction - 02/03/2020 - Project                  2.00         $325.00           $650.00
                Management & Planning / David Howard


Service         Texas Permanent Injunction - 02/03/2020 - Communication or         2.25         $325.00           $731.25
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / David
                Howard


Service         Texas Permanent Injunction - 02/03/2020 - Project                  2.00         $395.00           $790.00
                Management & Planning / Charmaine Thomas


Service         Texas Permanent Injunction - 02/03/2020 - Communication or         1.50         $250.00           $375.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Catherine Smith


Service         Texas Permanent Injunction - 02/03/2020 - Communication or         0.75          $85.00            $63.75
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 02/03/2020 - Communication or         1.50         $325.00           $487.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Melea Weber


Service         Texas Permanent Injunction - 02/03/2020 - Communication or         1.75         $250.00           $437.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Catherine Smith


Service         Texas Permanent Injunction - 02/03/2020 - Project                  0.50         $250.00           $125.00
                Management & Planning / Yana Mayevskaya


Service         Texas Permanent Injunction - 02/03/2020 - Document                 0.50         $325.00           $162.50
                Review/Data Analysis/Verification Work / Tim Ross


Service         Texas Permanent Injunction - 02/03/2020 - Document                 4.50         $250.00      $1,125.00
                Review/Data Analysis/Verification Work / Yana Mayevskaya


Service         Texas Permanent Injunction - 02/03/2020 - Document                 4.00         $325.00      $1,300.00
                Review/Data Analysis/Verification Work / Tim Ross




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Service         Texas Permanent Injunction - 02/03/2020 - Document                0.50          $120.00            $60.00
                Review/Data Analysis/Verification Work / Oliver Ponce


Service         Texas Permanent Injunction - 02/04/2020 - Project                 1.00           $85.00            $85.00
                Management & Planning / Natalie Nunez


Service         Texas Permanent Injunction - 02/04/2020 - Communication or        1.50          $250.00           $375.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Catherine Smith


Service         Texas Permanent Injunction - 02/04/2020 - Document                5.50          $250.00      $1,375.00
                Review/Data Analysis/Verification Work / Catherine Smith


Service         Texas Permanent Injunction - 02/04/2020 - Monitoring              2.50          $175.00           $437.50
                Administration, Document Control, Research, Analysis
                (Administrator Only) / Maria Lundgren


Service         Texas Permanent Injunction - 02/04/2020 - Document                3.00          $395.00      $1,185.00
                Review/Data Analysis/Verification Work / Eileen Crummy


Service         Texas Permanent Injunction - 02/04/2020 - Project                 2.50          $395.00           $987.50
                Management & Planning / Eileen Crummy


Service         Texas Permanent Injunction - 02/04/2020 - Document                3.00          $395.00      $1,185.00
                Review/Data Analysis/Verification Work / Lisa Taylor


Service         Texas Permanent Injunction - 02/04/2020 - Document                2.00          $395.00           $790.00
                Review/Data Analysis/Verification Work / Jody Drebes


Service         Texas Permanent Injunction - 02/04/2020 - Communication or        0.25          $395.00            $98.75
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Jody
                Drebes


Service         Texas Permanent Injunction - 02/04/2020 -                         3.00          $395.00      $1,185.00
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Charmaine Thomas


Service         Texas Permanent Injunction - 02/04/2020 - Document                3.00          $395.00      $1,185.00
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 02/04/2020 - Document                2.00          $395.00           $790.00
                Review/Data Analysis/Verification Work / Claudia Tahan


Service         Texas Permanent Injunction - 02/04/2020 - Communication or        1.50          $395.00           $592.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 02/04/2020 - Project                 3.00          $395.00      $1,185.00
                Management & Planning / Megan Annitto




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Service         Texas Permanent Injunction - 02/04/2020 - Communication or         1.75         $425.00           $743.75
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                Ryan


Service         Texas Permanent Injunction - 02/04/2020 - Communication or         0.50         $325.00           $162.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / David
                Howard


Service         Texas Permanent Injunction - 02/04/2020 - Document                 7.00         $325.00      $2,275.00
                Review/Data Analysis/Verification Work / Melea Weber


Service         Texas Permanent Injunction - 02/04/2020 - Project                  2.50         $395.00           $987.50
                Management & Planning / Lisa Taylor


Service         Texas Permanent Injunction - 02/04/2020 -                          0.75          $85.00            $63.75
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Natalie Nunez


Service         Texas Permanent Injunction - 02/04/2020 - Communication or         0.25          $85.00            $21.25
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 02/04/2020 - Document                 4.75          $85.00           $403.75
                Review/Data Analysis/Verification Work / Natalie Nunez


Service         Texas Permanent Injunction - 02/04/2020 - Document                 0.25          $85.00            $21.25
                Review/Data Analysis/Verification Work / Natalie Nunez


Service         Texas Permanent Injunction - 02/04/2020 - Project                  0.75         $325.00           $243.75
                Management & Planning / Tim Ross


Service         Texas Permanent Injunction - 02/04/2020 - Document                 0.75         $120.00            $90.00
                Review/Data Analysis/Verification Work / Oliver Ponce


Service         Texas Permanent Injunction - 02/04/2020 -                          1.00         $325.00           $325.00
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges to barriers to data and information / Tim
                Ross


Service         Texas Permanent Injunction - 02/04/2020 - Project                  0.75         $250.00           $187.50
                Management & Planning / Yana Mayevskaya


Service         Texas Permanent Injunction - 02/04/2020 - Document                 1.00         $325.00           $325.00
                Review/Data Analysis/Verification Work / Tim Ross


Service         Texas Permanent Injunction - 02/04/2020 - Document                 0.75         $120.00            $90.00
                Review/Data Analysis/Verification Work / Oliver Ponce


Service         Texas Permanent Injunction - 02/04/2020 - Project                  0.75         $120.00            $90.00
                Management & Planning / Oliver Ponce




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Service         Texas Permanent Injunction - 02/04/2020 - Document                2.75          $120.00           $330.00
                Review/Data Analysis/Verification Work / Oliver Ponce


Service         Texas Permanent Injunction - 02/04/2020 - Document                1.50          $250.00           $375.00
                Review/Data Analysis/Verification Work / Yana Mayevskaya


Service         Texas Permanent Injunction - 02/04/2020 - Document                0.50          $325.00           $162.50
                Review/Data Analysis/Verification Work / Tim Ross


Service         Texas Permanent Injunction - 02/05/2020 - Document                1.00          $395.00           $395.00
                Review/Data Analysis/Verification Work / Eileen Crummy


Service         Texas Permanent Injunction - 02/05/2020 - Monitoring              0.50          $175.00            $87.50
                Administration, Document Control, Research, Analysis
                (Administrator Only) / Maria Lundgren


Service         Texas Permanent Injunction - 02/05/2020 - Document                4.50          $250.00      $1,125.00
                Review/Data Analysis/Verification Work / Catherine Smith


Service         Texas Permanent Injunction - 02/05/2020 - Communication or        1.00          $250.00           $250.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Catherine Smith


Service         Texas Permanent Injunction - 02/05/2020 - Project                 2.25          $395.00           $888.75
                Management & Planning / Charmaine Thomas


Service         Texas Permanent Injunction - 02/05/2020 - Project                 2.50          $395.00           $987.50
                Management & Planning / Charmaine Thomas


Service         Texas Permanent Injunction - 02/05/2020 - Document                4.00          $395.00      $1,580.00
                Review/Data Analysis/Verification Work / Claudia Tahan


Service         Texas Permanent Injunction - 02/05/2020 - Document                3.00           $85.00           $255.00
                Review/Data Analysis/Verification Work / Natalie Nunez


Service         Texas Permanent Injunction - 02/05/2020 - Communication or        0.50           $85.00            $42.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 02/05/2020 - Project                 1.50          $395.00           $592.50
                Management & Planning / Lisa Taylor


Service         Texas Permanent Injunction - 02/05/2020 - Document                6.75          $395.00      $2,666.25
                Review/Data Analysis/Verification Work / Lisa Taylor


Service         Texas Permanent Injunction - 02/05/2020 - Project                 1.00          $395.00           $395.00
                Management & Planning / Lisa Taylor


Service         Texas Permanent Injunction - 02/05/2020 - Communication or        1.50          $395.00           $592.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
                Taylor




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Service         Texas Permanent Injunction - 02/05/2020 - Communication or         0.75         $395.00           $296.25
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Jody
                Drebes


Service         Texas Permanent Injunction - 02/05/2020 - Document                 6.75         $395.00      $2,666.25
                Review/Data Analysis/Verification Work / Jody Drebes


Service         Texas Permanent Injunction - 02/05/2020 - Document                 7.00         $395.00      $2,765.00
                Review/Data Analysis/Verification Work / Megan Annitto


Service         Texas Permanent Injunction - 02/05/2020 - Document                 1.25         $425.00           $531.25
                Review/Data Analysis/Verification Work / Kevin Ryan


Service         Texas Permanent Injunction - 02/05/2020 -                          1.00         $250.00           $250.00
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Catherine Smith


Service         Texas Permanent Injunction - 02/05/2020 - Document                 6.75         $395.00      $2,666.25
                Review/Data Analysis/Verification Work / Eileen Crummy


Service         Texas Permanent Injunction - 02/05/2020 - Communication or         1.50         $395.00           $592.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Eileen Crummy


Service         Texas Permanent Injunction - 02/05/2020 - Document                 2.50         $395.00           $987.50
                Review/Data Analysis/Verification Work / Charmaine Thomas


Service         Texas Permanent Injunction - 02/05/2020 - Communication or         0.25         $425.00           $106.25
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                Ryan


Service         Texas Permanent Injunction - 02/05/2020 -                          0.25         $325.00            $81.25
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                David Howard


Service         Texas Permanent Injunction - 02/05/2020 - Document                 7.00         $325.00      $2,275.00
                Review/Data Analysis/Verification Work / Melea Weber


Service         Texas Permanent Injunction - 02/05/2020 -                          3.25          $85.00           $276.25
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Natalie Nunez


Service         Texas Permanent Injunction - 02/05/2020 - Communication or         0.25          $85.00            $21.25
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 02/05/2020 - Communication or         0.50         $250.00           $125.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Catherine Smith




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Service         Texas Permanent Injunction - 02/05/2020 - Document                 3.25         $250.00           $812.50
                Review/Data Analysis/Verification Work / Yana Mayevskaya


Service         Texas Permanent Injunction - 02/05/2020 - Document                 6.50         $120.00           $780.00
                Review/Data Analysis/Verification Work / Oliver Ponce


Service         Texas Permanent Injunction - 02/05/2020 - Document                 0.50         $120.00            $60.00
                Review/Data Analysis/Verification Work / Oliver Ponce


Service         Texas Permanent Injunction - 02/05/2020 - Document                 1.25         $120.00           $150.00
                Review/Data Analysis/Verification Work / Oliver Ponce


Service         Texas Permanent Injunction - 02/05/2020 - Document                 2.25         $325.00           $731.25
                Review/Data Analysis/Verification Work / Tim Ross


Service         Texas Permanent Injunction - 02/05/2020 - Document                 0.75         $325.00           $243.75
                Review/Data Analysis/Verification Work / Tim Ross


Service         Texas Permanent Injunction - 02/05/2020 - Document                 1.25         $250.00           $312.50
                Review/Data Analysis/Verification Work / Yana Mayevskaya


Service         Texas Permanent Injunction - 02/06/2020 - Document                 0.75         $425.00           $318.75
                Review/Data Analysis/Verification Work / Kevin Ryan


Service         Texas Permanent Injunction - 02/06/2020 - Monitoring               0.25         $175.00            $43.75
                Administration, Document Control, Research, Analysis
                (Administrator Only) / Maria Lundgren


Service         Texas Permanent Injunction - 02/06/2020 - Document                 0.50         $395.00           $197.50
                Review/Data Analysis/Verification Work / Eileen Crummy


Service         Texas Permanent Injunction - 02/06/2020 - Communication or         0.25         $425.00           $106.25
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                Ryan


Service         Texas Permanent Injunction - 02/06/2020 - Document                 0.50         $395.00           $197.50
                Review/Data Analysis/Verification Work / Lisa Taylor


Service         Texas Permanent Injunction - 02/06/2020 - Communication or         3.75         $250.00           $937.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Catherine Smith


Service         Texas Permanent Injunction - 02/06/2020 - Document                 3.25         $250.00           $812.50
                Review/Data Analysis/Verification Work / Catherine Smith


Service         Texas Permanent Injunction - 02/06/2020 - Communication or         1.50          $85.00           $127.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 02/06/2020 - Communication or         1.00          $85.00            $85.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Natalie Nunez



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Service         Texas Permanent Injunction - 02/06/2020 - Project                  4.25          $85.00           $361.25
                Management & Planning / Natalie Nunez


Service         Texas Permanent Injunction - 02/06/2020 - Document                 3.00         $395.00      $1,185.00
                Review/Data Analysis/Verification Work / Eileen Crummy


Service         Texas Permanent Injunction - 02/06/2020 - Document                 2.00         $395.00           $790.00
                Review/Data Analysis/Verification Work / Jody Drebes


Service         Texas Permanent Injunction - 02/06/2020 - Communication or         0.25         $425.00           $106.25
                Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                Ryan


Service         Texas Permanent Injunction - 02/06/2020 - Document                 1.00         $425.00           $425.00
                Review/Data Analysis/Verification Work / Kevin Ryan


Service         Texas Permanent Injunction - 02/06/2020 -                          0.25         $395.00            $98.75
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Charmaine Thomas


Service         Texas Permanent Injunction - 02/06/2020 -                          1.75         $395.00           $691.25
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information /
                Charmaine Thomas


Service         Texas Permanent Injunction - 02/06/2020 - Report and               4.25         $395.00      $1,678.75
                Document Preparation / Charmaine Thomas


Service         Texas Permanent Injunction - 02/06/2020 - Communication or         3.50         $395.00      $1,382.50
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Megan Annitto


Service         Texas Permanent Injunction - 02/06/2020 - Document                 7.00         $325.00      $2,275.00
                Review/Data Analysis/Verification Work / Melea Weber


Service         Texas Permanent Injunction - 02/06/2020 - Communication or         0.25          $85.00            $21.25
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Natalie Nunez


Service         Texas Permanent Injunction - 02/06/2020 - Communication or         1.50         $250.00           $375.00
                Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                Catherine Smith


Service         Texas Permanent Injunction - 02/06/2020 -                          0.25         $325.00            $81.25
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges to barriers to data and information / Tim
                Ross


Service         Texas Permanent Injunction - 02/06/2020 - Document                 6.50         $120.00           $780.00
                Review/Data Analysis/Verification Work / Oliver Ponce




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Service          Texas Permanent Injunction - 02/06/2020 - Document              4.50         $250.00      $1,125.00
                 Review/Data Analysis/Verification Work / Yana Mayevskaya


Service          Texas Permanent Injunction - 02/06/2020 - Document              0.50         $120.00           $60.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/07/2020 - Project               1.00         $395.00       $395.00
                 Management & Planning / Lisa Taylor


Service          Texas Permanent Injunction - 02/07/2020 - Monitoring            0.25         $175.00           $43.75
                 Administration, Document Control, Research, Analysis
                 (Administrator Only) / Maria Lundgren


Service          Texas Permanent Injunction - 02/07/2020 - Document              0.25         $395.00           $98.75
                 Review/Data Analysis/Verification Work / Eileen Crummy


Service          Texas Permanent Injunction - 02/07/2020 - Document              4.00         $325.00      $1,300.00
                 Review/Data Analysis/Verification Work / Nadia Sexton


Service          Texas Permanent Injunction - 02/07/2020 - Document              7.00         $395.00      $2,765.00
                 Review/Data Analysis/Verification Work / Claudia Tahan


Service          Texas Permanent Injunction - 02/07/2020 - Document              4.00         $250.00      $1,000.00
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/07/2020 - Communication or      3.00         $250.00       $750.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/07/2020 - Project               1.00         $395.00       $395.00
                 Management & Planning / Jody Drebes


Service          Texas Permanent Injunction - 02/07/2020 - Document              3.50         $395.00      $1,382.50
                 Review/Data Analysis/Verification Work / Jody Drebes


Service          Texas Permanent Injunction - 02/07/2020 - Project               3.00         $395.00      $1,185.00
                 Management & Planning / Charmaine Thomas


Service          Texas Permanent Injunction - 02/07/2020 - Communication or      0.50          $85.00           $42.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/07/2020 - Document              4.75          $85.00       $403.75
                 Review/Data Analysis/Verification Work / Natalie Nunez


Service          Texas Permanent Injunction - 02/07/2020 - Communication or      0.50          $85.00           $42.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/07/2020 - Communication or      4.00         $395.00      $1,580.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto



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Service          Texas Permanent Injunction - 02/07/2020 - Project               3.00         $395.00      $1,185.00
                 Management & Planning / Megan Annitto


Service          Texas Permanent Injunction - 02/07/2020 - Communication or      1.00         $325.00       $325.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Melea Weber


Service          Texas Permanent Injunction - 02/07/2020 - Document              6.00         $325.00      $1,950.00
                 Review/Data Analysis/Verification Work / Melea Weber


Service          Texas Permanent Injunction - 02/07/2020 - Communication or      0.25          $85.00           $21.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/07/2020 - Document              1.50         $250.00       $375.00
                 Review/Data Analysis/Verification Work / Yana Mayevskaya


Service          Texas Permanent Injunction - 02/07/2020 - Document              6.00         $120.00       $720.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/07/2020 - Document              0.50         $120.00           $60.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/07/2020 - Document              0.50         $120.00           $60.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/07/2020 - Document              0.50         $325.00       $162.50
                 Review/Data Analysis/Verification Work / Tim Ross


Service          Texas Permanent Injunction - 02/07/2020 - Project               1.00         $250.00       $250.00
                 Management & Planning / Yana Mayevskaya


Service          Texas Permanent Injunction - 02/07/2020 - Document              0.50         $325.00       $162.50
                 Review/Data Analysis/Verification Work / Tim Ross


Service          Texas Permanent Injunction - 02/07/2020 - Document              0.50         $120.00           $60.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/08/2020 - Project               1.50         $425.00       $637.50
                 Management & Planning / Kevin Ryan


Service          Texas Permanent Injunction - 02/08/2020 - Project               2.50         $395.00       $987.50
                 Management & Planning / Megan Annitto


Service          Texas Permanent Injunction - 02/08/2020 - Document              1.00         $395.00       $395.00
                 Review/Data Analysis/Verification Work / Lisa Taylor


Service          Texas Permanent Injunction - 02/08/2020 - Document              1.25         $325.00       $406.25
                 Review/Data Analysis/Verification Work / John Ducoff


Service          Texas Permanent Injunction - 02/08/2020 - Document              1.00         $325.00       $325.00
                 Review/Data Analysis/Verification Work / John Ducoff


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Service          Texas Permanent Injunction - 02/08/2020 - Document              0.50         $425.00       $212.50
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/08/2020 - Document              0.25         $425.00       $106.25
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/08/2020 - Project               0.25         $425.00       $106.25
                 Management & Planning / Kevin Ryan


Service          Texas Permanent Injunction - 02/08/2020 - Document              0.50         $425.00       $212.50
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/08/2020 - Document              0.50         $425.00       $212.50
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/08/2020 - Document              0.25         $325.00           $81.25
                 Review/Data Analysis/Verification Work / John Ducoff


Service          Texas Permanent Injunction - 02/09/2020 - Document              0.75         $425.00       $318.75
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/09/2020 - Document              0.25         $425.00       $106.25
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/09/2020 - Document              3.50         $325.00      $1,137.50
                 Review/Data Analysis/Verification Work / John Ducoff


Service          Texas Permanent Injunction - 02/09/2020 - Document              0.50         $425.00       $212.50
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/09/2020 - Document              1.75         $425.00       $743.75
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/09/2020 - Document              2.00         $325.00       $650.00
                 Review/Data Analysis/Verification Work / David Howard


Service          Texas Permanent Injunction - 02/09/2020 - Project               3.00         $395.00      $1,185.00
                 Management & Planning / Megan Annitto


Service          Texas Permanent Injunction - 02/10/2020 - Document              4.50         $250.00      $1,125.00
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/10/2020 - Monitoring            1.25         $175.00       $218.75
                 Administration, Document Control, Research, Analysis
                 (Administrator Only) / Maria Lundgren


Service          Texas Permanent Injunction - 02/10/2020 - Document              3.00         $325.00       $975.00
                 Review/Data Analysis/Verification Work / Nadia Sexton


Service          Texas Permanent Injunction - 02/10/2020 - Communication or      2.00         $250.00       $500.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


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Service          Texas Permanent Injunction - 02/10/2020 - Communication or         0.50         $85.00           $42.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/10/2020 - Communication or         1.50         $85.00       $127.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/10/2020 - Communication or         0.50         $85.00           $42.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/10/2020 - Project                  4.25         $85.00       $361.25
                 Management & Planning / Natalie Nunez


Service          Texas Permanent Injunction - 02/10/2020 - Communication or         0.50        $325.00       $162.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Melea Weber


Service          Texas Permanent Injunction - 02/10/2020 - Document                 6.50        $325.00      $2,112.50
                 Review/Data Analysis/Verification Work / Melea Weber


Service          Texas Permanent Injunction - 02/10/2020 - Communication or         1.50        $325.00       $487.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / John
                 Ducoff


Service          Texas Permanent Injunction - 02/10/2020 - Communication or         0.50        $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Jody
                 Drebes


Service          Texas Permanent Injunction - 02/10/2020 - Project                  7.00        $395.00      $2,765.00
                 Management & Planning / Jody Drebes


Service          Texas Permanent Injunction - 02/10/2020 - Document                 0.75        $325.00       $243.75
                 Review/Data Analysis/Verification Work / Diane Scott


Service          Texas Permanent Injunction - 02/10/2020 - Communication or         0.75        $325.00       $243.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/10/2020 - Communication or         0.50        $325.00       $162.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/10/2020 - Communication or         0.50        $325.00       $162.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/10/2020 - Communication or         1.50        $325.00       $487.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott




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Service          Texas Permanent Injunction - 02/10/2020 - Document                 2.50        $325.00       $812.50
                 Review/Data Analysis/Verification Work / Diane Scott


Service          Texas Permanent Injunction - 02/10/2020 - Project                  0.75        $395.00       $296.25
                 Management & Planning / Lisa Taylor


Service          Texas Permanent Injunction - 02/10/2020 - Communication or         0.50        $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/10/2020 - Project                  4.50        $395.00      $1,777.50
                 Management & Planning / Charmaine Thomas


Service          Texas Permanent Injunction - 02/10/2020 - Project                  2.00        $395.00       $790.00
                 Management & Planning / Charmaine Thomas


Service          Texas Permanent Injunction - 02/10/2020 - Communication or         0.50        $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Claudia Tahan


Service          Texas Permanent Injunction - 02/10/2020 - Communication or         2.00        $395.00       $790.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/10/2020 - Document                 3.00        $395.00      $1,185.00
                 Review/Data Analysis/Verification Work / Megan Annitto


Service          Texas Permanent Injunction - 02/10/2020 - Project                  2.00        $395.00       $790.00
                 Management & Planning / Megan Annitto


Service          Texas Permanent Injunction - 02/10/2020 - Communication or         0.50        $325.00       $162.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / David
                 Howard


Service          Texas Permanent Injunction - 02/10/2020 - Document                 1.00        $325.00       $325.00
                 Review/Data Analysis/Verification Work / David Howard


Service          Texas Permanent Injunction - 02/10/2020 - Document                 6.50        $395.00      $2,567.50
                 Review/Data Analysis/Verification Work / Claudia Tahan


Service          Texas Permanent Injunction - 02/10/2020 - Communication or         0.25         $85.00           $21.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/10/2020 - Communication or         0.50        $250.00       $125.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/10/2020 - Document                 7.00        $120.00       $840.00
                 Review/Data Analysis/Verification Work / Oliver Ponce




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Service          Texas Permanent Injunction - 02/10/2020 - Document                 1.50        $250.00       $375.00
                 Review/Data Analysis/Verification Work / Yana Mayevskaya


Service          Texas Permanent Injunction - 02/10/2020 - Document                 1.50        $325.00       $487.50
                 Review/Data Analysis/Verification Work / Tim Ross


Service          Texas Permanent Injunction - 02/10/2020 - Document                 0.50        $120.00           $60.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/10/2020 - Document                 0.50        $325.00       $162.50
                 Review/Data Analysis/Verification Work / Tim Ross


Service          Texas Permanent Injunction - 02/11/2020 - Document                 3.00        $325.00       $975.00
                 Review/Data Analysis/Verification Work / Diane Scott


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         0.25        $395.00           $98.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Eileen Crummy


Service          Texas Permanent Injunction - 02/11/2020 - Document                 2.00        $250.00       $500.00
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         0.50        $250.00       $125.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/11/2020 - Monitoring               1.00        $175.00       $175.00
                 Administration, Document Control, Research, Analysis
                 (Administrator Only) / Maria Lundgren


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         2.00        $425.00       $850.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         2.00         $85.00       $170.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         1.00         $85.00           $85.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         0.75        $425.00       $318.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         0.25        $425.00       $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/11/2020 - Document                 3.75         $85.00       $318.75
                 Review/Data Analysis/Verification Work / Natalie Nunez



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Service          Texas Permanent Injunction - 02/11/2020 - Communication or         0.25        $395.00           $98.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
                 Taylor


Service          Texas Permanent Injunction - 02/11/2020 - Project                  1.50        $395.00       $592.50
                 Management & Planning / Lisa Taylor


Service          Texas Permanent Injunction - 02/11/2020 - Project                  2.25        $395.00       $888.75
                 Management & Planning / Charmaine Thomas


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         2.00        $395.00       $790.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/11/2020 - Project                  3.00        $395.00      $1,185.00
                 Management & Planning / Charmaine Thomas


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         1.75        $325.00       $568.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / John
                 Ducoff


Service          Texas Permanent Injunction - 02/11/2020 -                          0.25        $395.00           $98.75
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         2.25        $395.00       $888.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Claudia Tahan


Service          Texas Permanent Injunction - 02/11/2020 - Document                 4.75        $395.00      $1,876.25
                 Review/Data Analysis/Verification Work / Claudia Tahan


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         0.25        $425.00       $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         0.25        $425.00       $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         2.00        $325.00       $650.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Melea Weber


Service          Texas Permanent Injunction - 02/11/2020 - Document                 5.00        $325.00      $1,625.00
                 Review/Data Analysis/Verification Work / Melea Weber


Service          Texas Permanent Injunction - 02/11/2020 - Project                  1.25        $395.00       $493.75
                 Management & Planning / Jody Drebes




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Service          Texas Permanent Injunction - 02/11/2020 - Communication or         2.25        $395.00       $888.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Jody
                 Drebes


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         7.00        $395.00      $2,765.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/11/2020 - Project                  2.00        $395.00       $790.00
                 Management & Planning / Megan Annitto


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         2.00        $325.00       $650.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / David
                 Howard


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         2.00        $325.00       $650.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         1.25        $325.00       $406.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         2.00        $325.00       $650.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/11/2020 - Project                  1.00        $325.00       $325.00
                 Management & Planning / Diane Scott


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         0.25         $85.00           $21.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         2.00        $250.00       $500.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         1.00        $250.00       $250.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/11/2020 - Communication or         2.00        $250.00       $500.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/11/2020 -                          2.00        $120.00       $240.00
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges to barriers to data and information /
                 Oliver Ponce




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Service          Texas Permanent Injunction - 02/11/2020 -                          2.00        $250.00       $500.00
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges to barriers to data and information /
                 Yana Mayevskaya


Service          Texas Permanent Injunction - 02/11/2020 - Project                  0.50        $250.00       $125.00
                 Management & Planning / Yana Mayevskaya


Service          Texas Permanent Injunction - 02/11/2020 - Document                 1.00        $120.00       $120.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/11/2020 -                          2.00        $325.00       $650.00
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges to barriers to data and information / Tim
                 Ross


Service          Texas Permanent Injunction - 02/11/2020 - Project                  0.50        $120.00           $60.00
                 Management & Planning / Oliver Ponce


Service          Texas Permanent Injunction - 02/11/2020 - Document                 0.50        $325.00       $162.50
                 Review/Data Analysis/Verification Work / Tim Ross


Service          Texas Permanent Injunction - 02/11/2020 - Document                 1.00        $325.00       $325.00
                 Review/Data Analysis/Verification Work / Tim Ross


Service          Texas Permanent Injunction - 02/12/2020 - Document                 0.25        $395.00           $98.75
                 Review/Data Analysis/Verification Work / Eileen Crummy


Service          Texas Permanent Injunction - 02/12/2020 - Project                  1.25        $395.00       $493.75
                 Management & Planning / Lisa Taylor


Service          Texas Permanent Injunction - 02/12/2020 - Communication or         0.75        $325.00       $243.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/12/2020 - Monitoring               0.25        $175.00           $43.75
                 Administration, Document Control, Research, Analysis
                 (Administrator Only) / Maria Lundgren


Service          Texas Permanent Injunction - 02/12/2020 - Document                 3.50        $250.00       $875.00
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/12/2020 - Communication or         3.50        $250.00       $875.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/12/2020 - Communication or         1.50         $85.00       $127.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/12/2020 - Document                 3.00        $325.00       $975.00
                 Review/Data Analysis/Verification Work / Nadia Sexton



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Service          Texas Permanent Injunction - 02/12/2020 - Project                  2.75         $85.00       $233.75
                 Management & Planning / Natalie Nunez


Service          Texas Permanent Injunction - 02/12/2020 -                          2.00        $395.00       $790.00
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Jody Drebes


Service          Texas Permanent Injunction - 02/12/2020 - Project                  5.50        $395.00      $2,172.50
                 Management & Planning / Jody Drebes


Service          Texas Permanent Injunction - 02/12/2020 - Judicial Proceeding      0.25        $425.00       $106.25
                 / Kevin Ryan


Service          Texas Permanent Injunction - 02/12/2020 - Communication or         0.50        $425.00       $212.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/12/2020 - Document                 0.75        $425.00       $318.75
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/12/2020 - Communication or         0.75        $325.00       $243.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/12/2020 - Communication or         1.00        $325.00       $325.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/12/2020 - Document                 2.50        $325.00       $812.50
                 Review/Data Analysis/Verification Work / Diane Scott


Service          Texas Permanent Injunction - 02/12/2020 -                          0.75        $395.00       $296.25
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/12/2020 - Project                  4.75        $395.00      $1,876.25
                 Management & Planning / Charmaine Thomas


Service          Texas Permanent Injunction - 02/12/2020 - Document                 7.00        $325.00      $2,275.00
                 Review/Data Analysis/Verification Work / Melea Weber


Service          Texas Permanent Injunction - 02/12/2020 - Communication or         6.00        $395.00      $2,370.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/12/2020 - Project                  2.00        $395.00       $790.00
                 Management & Planning / Megan Annitto


Service          Texas Permanent Injunction - 02/12/2020 - Communication or         0.25        $325.00           $81.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / David
                 Howard


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Service          Texas Permanent Injunction - 02/12/2020 -                          1.00        $395.00       $395.00
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/12/2020 - Document                 2.00         $85.00       $170.00
                 Review/Data Analysis/Verification Work / Natalie Nunez


Service          Texas Permanent Injunction - 02/12/2020 - Communication or         0.75         $85.00           $63.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/12/2020 - Document                 1.50        $120.00       $180.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/12/2020 - Document                 0.75        $120.00           $90.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/13/2020 - Communication or         0.50        $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
                 Taylor


Service          Texas Permanent Injunction - 02/13/2020 - Project                  2.00        $425.00       $850.00
                 Management & Planning / Kevin Ryan


Service          Texas Permanent Injunction - 02/13/2020 - Document                 1.00        $425.00       $425.00
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/13/2020 - Communication or         0.25        $425.00       $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/13/2020 - Communication or         0.50        $425.00       $212.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/13/2020 - Project                  1.25        $395.00       $493.75
                 Management & Planning / Lisa Taylor


Service          Texas Permanent Injunction - 02/13/2020 - Document                 1.00        $395.00       $395.00
                 Review/Data Analysis/Verification Work / Eileen Crummy


Service          Texas Permanent Injunction - 02/13/2020 - Communication or         0.50        $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Eileen Crummy


Service          Texas Permanent Injunction - 02/13/2020 - Project                  2.25        $250.00       $562.50
                 Management & Planning / Catherine Smith


Service          Texas Permanent Injunction - 02/13/2020 - Communication or         2.75        $250.00       $687.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith



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Service          Texas Permanent Injunction - 02/13/2020 - Document                 2.00        $250.00       $500.00
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/13/2020 - Communication or         0.25        $325.00           $81.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/13/2020 - Document                 4.00        $325.00      $1,300.00
                 Review/Data Analysis/Verification Work / Diane Scott


Service          Texas Permanent Injunction - 02/13/2020 - Document                 3.00        $395.00      $1,185.00
                 Review/Data Analysis/Verification Work / Lisa Taylor


Service          Texas Permanent Injunction - 02/13/2020 - Project                  4.25        $395.00      $1,678.75
                 Management & Planning / Charmaine Thomas


Service          Texas Permanent Injunction - 02/13/2020 - Project                  2.75        $395.00      $1,086.25
                 Management & Planning / Jody Drebes


Service          Texas Permanent Injunction - 02/13/2020 - Communication or         2.00         $85.00       $170.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/13/2020 - Project                  3.00         $85.00       $255.00
                 Management & Planning / Natalie Nunez


Service          Texas Permanent Injunction - 02/13/2020 - Communication or         0.25        $425.00       $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/13/2020 - Communication or         0.25        $425.00       $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/13/2020 - Communication or         0.50        $325.00       $162.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/13/2020 - Document                 2.50        $325.00       $812.50
                 Review/Data Analysis/Verification Work / Diane Scott


Service          Texas Permanent Injunction - 02/13/2020 - Communication or         1.50        $325.00       $487.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Melea Weber


Service          Texas Permanent Injunction - 02/13/2020 - Document                 5.50        $325.00      $1,787.50
                 Review/Data Analysis/Verification Work / Melea Weber


Service          Texas Permanent Injunction - 02/13/2020 - Communication or         2.50        $395.00       $987.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto




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Service          Texas Permanent Injunction - 02/13/2020 - Project                  5.00        $395.00      $1,975.00
                 Management & Planning / Megan Annitto


Service          Texas Permanent Injunction - 02/13/2020 - Communication or         0.50        $325.00       $162.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / David
                 Howard


Service          Texas Permanent Injunction - 02/13/2020 - Document                 4.00        $395.00      $1,580.00
                 Review/Data Analysis/Verification Work / Claudia Tahan


Service          Texas Permanent Injunction - 02/13/2020 - Report and               3.00        $325.00       $975.00
                 Document Preparation / Diane Scott


Service          Texas Permanent Injunction - 02/13/2020 - Document                 2.00         $85.00       $170.00
                 Review/Data Analysis/Verification Work / Natalie Nunez


Service          Texas Permanent Injunction - 02/13/2020 - Document                 0.25        $325.00           $81.25
                 Review/Data Analysis/Verification Work / Tim Ross


Service          Texas Permanent Injunction - 02/13/2020 - Document                 1.75        $120.00       $210.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/13/2020 - Document                 0.50        $120.00           $60.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/13/2020 - Document                 0.25        $120.00           $30.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/14/2020 - Document                 1.50        $325.00       $487.50
                 Review/Data Analysis/Verification Work / Diane Scott


Service          Texas Permanent Injunction - 02/14/2020 - Communication or         0.50        $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Eileen Crummy


Service          Texas Permanent Injunction - 02/14/2020 - Document                 1.00        $395.00       $395.00
                 Review/Data Analysis/Verification Work / Eileen Crummy


Service          Texas Permanent Injunction - 02/14/2020 - Communication or         0.50        $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
                 Taylor


Service          Texas Permanent Injunction - 02/14/2020 - Document                 5.50        $325.00      $1,787.50
                 Review/Data Analysis/Verification Work / Melea Weber


Service          Texas Permanent Injunction - 02/14/2020 - Communication or         1.50        $325.00       $487.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Melea Weber


Service          Texas Permanent Injunction - 02/14/2020 - Communication or         0.75        $395.00       $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
                 Taylor



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Service          Texas Permanent Injunction - 02/14/2020 - Communication or         2.00         $85.00       $170.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/14/2020 - Communication or         0.75         $85.00           $63.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/14/2020 - Communication or         0.75        $395.00       $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Eileen Crummy


Service          Texas Permanent Injunction - 02/14/2020 - Project                  2.00         $85.00       $170.00
                 Management & Planning / Natalie Nunez


Service          Texas Permanent Injunction - 02/14/2020 - Communication or         5.50        $395.00      $2,172.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/14/2020 - Document                 4.00        $395.00      $1,580.00
                 Review/Data Analysis/Verification Work / Megan Annitto


Service          Texas Permanent Injunction - 02/14/2020 - Document                 0.75        $395.00       $296.25
                 Review/Data Analysis/Verification Work / Eileen Crummy


Service          Texas Permanent Injunction - 02/14/2020 - Project                  0.75        $395.00       $296.25
                 Management & Planning / Lisa Taylor


Service          Texas Permanent Injunction - 02/14/2020 - Communication or         1.00        $425.00       $425.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/14/2020 - Communication or         2.00        $425.00       $850.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/14/2020 - Communication or         0.75        $425.00       $318.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/14/2020 - Communication or         2.50        $325.00       $812.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/14/2020 - Communication or         0.50        $325.00       $162.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/14/2020 - Communication or         1.75        $325.00       $568.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / David
                 Howard




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Service          Texas Permanent Injunction - 02/14/2020 - Communication or         0.50        $325.00       $162.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / David
                 Howard


Service          Texas Permanent Injunction - 02/14/2020 - Document                 3.00        $395.00      $1,185.00
                 Review/Data Analysis/Verification Work / Claudia Tahan


Service          Texas Permanent Injunction - 02/14/2020 - Project                  2.00        $250.00       $500.00
                 Management & Planning / Catherine Smith


Service          Texas Permanent Injunction - 02/14/2020 - Communication or         5.00        $250.00      $1,250.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/14/2020 - Communication or         1.50        $325.00       $487.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Nadia
                 Sexton


Service          Texas Permanent Injunction - 02/14/2020 - Communication or         0.25         $85.00           $21.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/14/2020 - Document                 2.25         $85.00       $191.25
                 Review/Data Analysis/Verification Work / Natalie Nunez


Service          Texas Permanent Injunction - 02/14/2020 -                          0.25         $85.00           $21.25
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/14/2020 -                          2.00        $120.00       $240.00
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges to barriers to data and information /
                 Oliver Ponce


Service          Texas Permanent Injunction - 02/14/2020 -                          2.00        $325.00       $650.00
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges to barriers to data and information / Tim
                 Ross


Service          Texas Permanent Injunction - 02/14/2020 -                          0.75        $120.00           $90.00
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges to barriers to data and information /
                 Oliver Ponce


Service          Texas Permanent Injunction - 02/14/2020 -                          0.50        $120.00           $60.00
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges to barriers to data and information /
                 Oliver Ponce




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Service          Texas Permanent Injunction - 02/14/2020 -                          0.75        $325.00       $243.75
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges to barriers to data and information / Tim
                 Ross


Service          Texas Permanent Injunction - 02/14/2020 - Document                 3.00        $325.00       $975.00
                 Review/Data Analysis/Verification Work / Tim Ross


Service          Texas Permanent Injunction - 02/15/2020 - Project                  2.75        $395.00      $1,086.25
                 Management & Planning / Lisa Taylor


Service          Texas Permanent Injunction - 02/15/2020 - Document                 2.25        $425.00       $956.25
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/15/2020 - Document                 0.50        $425.00       $212.50
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/15/2020 - Project                  3.00        $395.00      $1,185.00
                 Management & Planning / Megan Annitto


Service          Texas Permanent Injunction - 02/15/2020 - Document                 3.00        $425.00      $1,275.00
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/15/2020 - Document                 0.75        $425.00       $318.75
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/15/2020 - Document                 0.25        $395.00           $98.75
                 Review/Data Analysis/Verification Work / Eileen Crummy


Service          Texas Permanent Injunction - 02/15/2020 - Document                 4.00        $395.00      $1,580.00
                 Review/Data Analysis/Verification Work / Lisa Taylor


Service          Texas Permanent Injunction - 02/15/2020 - Document                 1.50        $325.00       $487.50
                 Review/Data Analysis/Verification Work / Diane Scott


Service          Texas Permanent Injunction - 02/15/2020 - Communication or         0.25        $325.00           $81.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/15/2020 - Document                 2.00        $395.00       $790.00
                 Review/Data Analysis/Verification Work / Eileen Crummy


Service          Texas Permanent Injunction - 02/15/2020 - Document                 2.00        $425.00       $850.00
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/15/2020 - Document                 1.75        $325.00       $568.75
                 Review/Data Analysis/Verification Work / David Howard


Service          Texas Permanent Injunction - 02/16/2020 - Document                 0.50        $395.00       $197.50
                 Review/Data Analysis/Verification Work / Lisa Taylor




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Service          Texas Permanent Injunction - 02/16/2020 - Document                 0.50        $395.00       $197.50
                 Review/Data Analysis/Verification Work / Eileen Crummy


Service          Texas Permanent Injunction - 02/16/2020 - Project                  3.75        $395.00      $1,481.25
                 Management & Planning / Megan Annitto


Service          Texas Permanent Injunction - 02/16/2020 - Document                 2.00        $425.00       $850.00
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/16/2020 - Document                 2.75        $425.00      $1,168.75
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/16/2020 - Communication or         0.75        $425.00       $318.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/16/2020 - Document                 1.00        $425.00       $425.00
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/16/2020 - Project                  1.50        $425.00       $637.50
                 Management & Planning / Kevin Ryan


Service          Texas Permanent Injunction - 02/16/2020 - Communication or         0.25        $425.00       $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/16/2020 - Document                 0.75        $425.00       $318.75
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/16/2020 - Communication or         0.75        $395.00       $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Eileen Crummy


Service          Texas Permanent Injunction - 02/16/2020 - Communication or         0.75        $395.00       $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
                 Taylor


Service          Texas Permanent Injunction - 02/16/2020 - Project                  1.25        $395.00       $493.75
                 Management & Planning / Lisa Taylor


Service          Texas Permanent Injunction - 02/16/2020 - Document                 0.25        $325.00           $81.25
                 Review/Data Analysis/Verification Work / David Howard


Service          Texas Permanent Injunction - 02/16/2020 - Document                 7.25        $325.00      $2,356.25
                 Review/Data Analysis/Verification Work / Diane Scott


Service          Texas Permanent Injunction - 02/17/2020 - Communication or         3.75        $395.00      $1,481.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/17/2020 - Document                 0.50        $425.00       $212.50
                 Review/Data Analysis/Verification Work / Kevin Ryan



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Service          Texas Permanent Injunction - 02/17/2020 - Document                 0.25        $425.00       $106.25
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/17/2020 - Document                 1.75        $395.00       $691.25
                 Review/Data Analysis/Verification Work / Lisa Taylor


Service          Texas Permanent Injunction - 02/17/2020 -                          2.00        $395.00       $790.00
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Jody Drebes


Service          Texas Permanent Injunction - 02/17/2020 - Project                  5.00        $395.00      $1,975.00
                 Management & Planning / Jody Drebes


Service          Texas Permanent Injunction - 02/17/2020 - Document                 6.50        $395.00      $2,567.50
                 Review/Data Analysis/Verification Work / Claudia Tahan


Service          Texas Permanent Injunction - 02/17/2020 -                          5.50        $395.00      $2,172.50
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/17/2020 -                          0.50        $395.00       $197.50
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/17/2020 - Communication or         1.50        $325.00       $487.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Nadia
                 Sexton


Service          Texas Permanent Injunction - 02/17/2020 - Document                 1.50        $325.00       $487.50
                 Review/Data Analysis/Verification Work / Diane Scott


Service          Texas Permanent Injunction - 02/17/2020 - Communication or         2.00        $325.00       $650.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/17/2020 - Document                 1.50        $325.00       $487.50
                 Review/Data Analysis/Verification Work / Diane Scott


Service          Texas Permanent Injunction - 02/17/2020 - Communication or         0.50        $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Claudia Tahan


Service          Texas Permanent Injunction - 02/17/2020 - Report and               2.00        $325.00       $650.00
                 Document Preparation / Nadia Sexton


Service          Texas Permanent Injunction - 02/18/2020 - Project                  0.75        $395.00       $296.25
                 Management & Planning / Lisa Taylor


Service          Texas Permanent Injunction - 02/18/2020 - Project                  4.00        $250.00      $1,000.00
                 Management & Planning / Catherine Smith


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Service          Texas Permanent Injunction - 02/18/2020 - Communication or         1.50        $250.00       $375.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/18/2020 - Communication or         2.00        $325.00       $650.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Melea Weber


Service          Texas Permanent Injunction - 02/18/2020 - Communication or         0.50        $325.00       $162.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Melea Weber


Service          Texas Permanent Injunction - 02/18/2020 - Document                 4.50        $325.00      $1,462.50
                 Review/Data Analysis/Verification Work / Melea Weber


Service          Texas Permanent Injunction - 02/18/2020 - Project                  1.50        $250.00       $375.00
                 Management & Planning / Catherine Smith


Service          Texas Permanent Injunction - 02/18/2020 - Report and               0.50        $425.00       $212.50
                 Document Preparation / Kevin Ryan


Service          Texas Permanent Injunction - 02/18/2020 - Communication or         0.50         $85.00           $42.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/18/2020 - Project                  6.00         $85.00       $510.00
                 Management & Planning / Natalie Nunez


Service          Texas Permanent Injunction - 02/18/2020 - Communication or         2.00        $395.00       $790.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Claudia Tahan


Service          Texas Permanent Injunction - 02/18/2020 - Document                 4.00        $395.00      $1,580.00
                 Review/Data Analysis/Verification Work / Claudia Tahan


Service          Texas Permanent Injunction - 02/18/2020 - Project                  0.25        $425.00       $106.25
                 Management & Planning / Kevin Ryan


Service          Texas Permanent Injunction - 02/18/2020 - Communication or         1.25        $425.00       $531.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/18/2020 - Document                 1.50        $425.00       $637.50
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/18/2020 - Document                 0.25        $395.00           $98.75
                 Review/Data Analysis/Verification Work / Eileen Crummy


Service          Texas Permanent Injunction - 02/18/2020 - Communication or         0.50        $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas




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Service          Texas Permanent Injunction - 02/18/2020 - Communication or         2.00        $395.00       $790.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/18/2020 - Communication or         2.00        $395.00       $790.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/18/2020 - Project                  2.75        $395.00      $1,086.25
                 Management & Planning / Charmaine Thomas


Service          Texas Permanent Injunction - 02/18/2020 - Document                 2.00        $325.00       $650.00
                 Review/Data Analysis/Verification Work / Nadia Sexton


Service          Texas Permanent Injunction - 02/18/2020 - Project                  2.00        $395.00       $790.00
                 Management & Planning / Jody Drebes


Service          Texas Permanent Injunction - 02/18/2020 - Communication or         2.00        $395.00       $790.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Jody
                 Drebes


Service          Texas Permanent Injunction - 02/18/2020 - Communication or         1.25        $325.00       $406.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/18/2020 - Communication or         0.25        $325.00           $81.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/18/2020 -                          0.50        $325.00       $162.50
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Diane Scott


Service          Texas Permanent Injunction - 02/18/2020 - Communication or         2.25        $325.00       $731.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/18/2020 - Project                  0.75        $325.00       $243.75
                 Management & Planning / Diane Scott


Service          Texas Permanent Injunction - 02/18/2020 - Communication or         1.00        $325.00       $325.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/18/2020 - Communication or         1.25        $325.00       $406.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/18/2020 - Project                  5.00        $395.00      $1,975.00
                 Management & Planning / Megan Annitto




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Service          Texas Permanent Injunction - 02/18/2020 -                          0.25         $85.00           $21.25
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/18/2020 -                          0.25         $85.00           $21.25
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/18/2020 - Document                 0.75        $120.00           $90.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/18/2020 - Document                 5.00        $250.00      $1,250.00
                 Review/Data Analysis/Verification Work / Yana Mayevskaya


Service          Texas Permanent Injunction - 02/18/2020 - Document                 1.75        $120.00       $210.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/18/2020 - Document                 0.50        $120.00           $60.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/18/2020 - Document                 3.25        $120.00       $390.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/19/2020 - Document                 1.25        $425.00       $531.25
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/19/2020 - Project                  1.75        $395.00       $691.25
                 Management & Planning / Lisa Taylor


Service          Texas Permanent Injunction - 02/19/2020 - Monitoring               0.50        $175.00           $87.50
                 Administration, Document Control, Research, Analysis
                 (Administrator Only) / Maria Lundgren


Service          Texas Permanent Injunction - 02/19/2020 - Communication or         3.50        $250.00       $875.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/19/2020 - Document                 2.50        $250.00       $625.00
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/19/2020 - Project                  2.00        $250.00       $500.00
                 Management & Planning / Catherine Smith


Service          Texas Permanent Injunction - 02/19/2020 - Document                 1.00        $395.00       $395.00
                 Review/Data Analysis/Verification Work / Eileen Crummy


Service          Texas Permanent Injunction - 02/19/2020 - Communication or         3.50        $425.00      $1,487.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan




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Service          Texas Permanent Injunction - 02/19/2020 - Communication or         0.50        $425.00       $212.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/19/2020 - Communication or         0.50        $425.00       $212.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/19/2020 - Project                  4.25         $85.00       $361.25
                 Management & Planning / Natalie Nunez


Service          Texas Permanent Injunction - 02/19/2020 - Document                 5.00        $395.00      $1,975.00
                 Review/Data Analysis/Verification Work / Claudia Tahan


Service          Texas Permanent Injunction - 02/19/2020 - Communication or         0.75        $325.00       $243.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/19/2020 - Communication or         0.50        $325.00       $162.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/19/2020 - Communication or         0.50        $425.00       $212.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/19/2020 - Communication or         0.50        $425.00       $212.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/19/2020 - Communication or         3.50        $395.00      $1,382.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/19/2020 - Document                 2.00        $395.00       $790.00
                 Review/Data Analysis/Verification Work / Megan Annitto


Service          Texas Permanent Injunction - 02/19/2020 - Project                  3.00        $395.00      $1,185.00
                 Management & Planning / Megan Annitto


Service          Texas Permanent Injunction - 02/19/2020 - Communication or         0.75        $325.00       $243.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Melea Weber


Service          Texas Permanent Injunction - 02/19/2020 - Project                  2.00        $325.00       $650.00
                 Management & Planning / Melea Weber


Service          Texas Permanent Injunction - 02/19/2020 - Document                 4.25        $325.00      $1,381.25
                 Review/Data Analysis/Verification Work / Melea Weber


Service          Texas Permanent Injunction - 02/19/2020 - Project                  4.00        $395.00      $1,580.00
                 Management & Planning / Charmaine Thomas



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Service          Texas Permanent Injunction - 02/19/2020 - Communication or        0.50         $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/19/2020 - Document                3.00         $395.00      $1,185.00
                 Review/Data Analysis/Verification Work / Jody Drebes


Service          Texas Permanent Injunction - 02/19/2020 - Communication or        0.50         $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Jody
                 Drebes


Service          Texas Permanent Injunction - 02/19/2020 - Project                 1.50         $395.00       $592.50
                 Management & Planning / Jody Drebes


Service          Texas Permanent Injunction - 02/19/2020 - Project                 2.50          $85.00       $212.50
                 Management & Planning / Natalie Nunez


Service          Texas Permanent Injunction - 02/19/2020 - Project                 2.50         $395.00       $987.50
                 Management & Planning / Charmaine Thomas


Service          Texas Permanent Injunction - 02/19/2020 - Communication or        0.25          $85.00           $21.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/19/2020 - Document                6.50         $120.00       $780.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/19/2020 - Document                1.50         $250.00       $375.00
                 Review/Data Analysis/Verification Work / Yana Mayevskaya


Service          Texas Permanent Injunction - 02/19/2020 - Document                0.50         $120.00           $60.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/20/2020 - Document                5.00         $395.00      $1,975.00
                 Review/Data Analysis/Verification Work / Megan Annitto


Service          Texas Permanent Injunction - 02/20/2020 - Monitoring              0.25         $175.00           $43.75
                 Administration, Document Control, Research, Analysis
                 (Administrator Only) / Maria Lundgren


Service          Texas Permanent Injunction - 02/20/2020 - Document                3.25         $250.00       $812.50
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/20/2020 - Communication or        0.75         $250.00       $187.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/20/2020 - Communication or        0.50         $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Eileen Crummy




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Service          Texas Permanent Injunction - 02/20/2020 - Communication or        0.75         $395.00       $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Eileen Crummy


Service          Texas Permanent Injunction - 02/20/2020 - Communication or        2.00         $395.00       $790.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
                 Taylor


Service          Texas Permanent Injunction - 02/20/2020 - Communication or        0.50         $250.00       $125.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/20/2020 - Communication or        0.75         $395.00       $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
                 Taylor


Service          Texas Permanent Injunction - 02/20/2020 - Communication or        0.50         $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
                 Taylor


Service          Texas Permanent Injunction - 02/20/2020 - Communication or        1.00         $250.00       $250.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/20/2020 - Project                 0.50         $250.00       $125.00
                 Management & Planning / Catherine Smith


Service          Texas Permanent Injunction - 02/20/2020 - Communication or        0.50          $85.00           $42.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/20/2020 - Communication or        1.00          $85.00           $85.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/20/2020 - Communication or        2.00         $395.00       $790.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Eileen Crummy


Service          Texas Permanent Injunction - 02/20/2020 - Document                0.50         $395.00       $197.50
                 Review/Data Analysis/Verification Work / Lisa Taylor


Service          Texas Permanent Injunction - 02/20/2020 - Document                0.50         $395.00       $197.50
                 Review/Data Analysis/Verification Work / Eileen Crummy


Service          Texas Permanent Injunction - 02/20/2020 - Communication or        1.75         $250.00       $437.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/20/2020 - Communication or        1.75          $85.00       $148.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez




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Service          Texas Permanent Injunction - 02/20/2020 - Communication or         0.75         $85.00           $63.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/20/2020 - Document                 4.00        $395.00      $1,580.00
                 Review/Data Analysis/Verification Work / Claudia Tahan


Service          Texas Permanent Injunction - 02/20/2020 - Communication or         0.75        $425.00       $318.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/20/2020 - Communication or         0.75        $425.00       $318.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/20/2020 - Communication or         2.00        $425.00       $850.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/20/2020 - Communication or         0.50        $425.00       $212.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/20/2020 - Communication or         0.75        $425.00       $318.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/20/2020 - Communication or         0.25        $425.00       $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/20/2020 - Communication or         0.50        $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/20/2020 - Project                  6.00        $395.00      $2,370.00
                 Management & Planning / Charmaine Thomas


Service          Texas Permanent Injunction - 02/20/2020 - Communication or         0.50        $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/20/2020 - Communication or         0.25        $395.00           $98.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/20/2020 - Document                 5.50        $325.00      $1,787.50
                 Review/Data Analysis/Verification Work / Melea Weber


Service          Texas Permanent Injunction - 02/20/2020 - Communication or         1.50        $325.00       $487.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Melea Weber




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Service          Texas Permanent Injunction - 02/20/2020 - Communication or         0.50        $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Jody
                 Drebes


Service          Texas Permanent Injunction - 02/20/2020 - Communication or         0.25        $325.00           $81.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/20/2020 - Project                  3.00         $85.00       $255.00
                 Management & Planning / Natalie Nunez


Service          Texas Permanent Injunction - 02/20/2020 - Document                 1.50        $395.00       $592.50
                 Review/Data Analysis/Verification Work / Megan Annitto


Service          Texas Permanent Injunction - 02/20/2020 - Document                 4.25        $120.00       $510.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/20/2020 - Document                 3.25        $120.00       $390.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/21/2020 - Document                 2.50        $250.00       $625.00
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/21/2020 - Communication or         0.50        $425.00       $212.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/21/2020 - Communication or         0.25        $425.00       $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/21/2020 - Document                 0.25        $395.00           $98.75
                 Review/Data Analysis/Verification Work / Eileen Crummy


Service          Texas Permanent Injunction - 02/21/2020 - Monitoring               2.50        $175.00       $437.50
                 Administration, Document Control, Research, Analysis
                 (Administrator Only) / Maria Lundgren


Service          Texas Permanent Injunction - 02/21/2020 - Communication or         0.25        $425.00       $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/21/2020 - Project                  0.75        $250.00       $187.50
                 Management & Planning / Catherine Smith


Service          Texas Permanent Injunction - 02/21/2020 - Communication or         0.75        $250.00       $187.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/21/2020 - Document                 1.50         $85.00       $127.50
                 Review/Data Analysis/Verification Work / Natalie Nunez




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Service          Texas Permanent Injunction - 02/21/2020 - Communication or         0.25        $395.00           $98.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/21/2020 - Judicial Proceeding      0.50        $425.00       $212.50
                 / Kevin Ryan


Service          Texas Permanent Injunction - 02/21/2020 - Communication or         0.25        $425.00       $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/21/2020 - Communication or         0.25        $425.00       $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/21/2020 - Communication or         0.75        $395.00       $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Eileen Crummy


Service          Texas Permanent Injunction - 02/21/2020 - Project                  3.00        $250.00       $750.00
                 Management & Planning / Catherine Smith


Service          Texas Permanent Injunction - 02/21/2020 - Project                  2.00        $325.00       $650.00
                 Management & Planning / Melea Weber


Service          Texas Permanent Injunction - 02/21/2020 - Communication or         0.75        $425.00       $318.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/21/2020 - Communication or         1.50        $395.00       $592.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/21/2020 - Project                  4.00        $395.00      $1,580.00
                 Management & Planning / Eileen Crummy


Service          Texas Permanent Injunction - 02/21/2020 - Document                 0.25        $395.00           $98.75
                 Review/Data Analysis/Verification Work / Eileen Crummy


Service          Texas Permanent Injunction - 02/21/2020 - Document                 0.50        $395.00       $197.50
                 Review/Data Analysis/Verification Work / Eileen Crummy


Service          Texas Permanent Injunction - 02/21/2020 - Communication or         0.50         $85.00           $42.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/21/2020 - Project                  0.50        $395.00       $197.50
                 Management & Planning / Lisa Taylor


Service          Texas Permanent Injunction - 02/21/2020 - Document                 0.25        $395.00           $98.75
                 Review/Data Analysis/Verification Work / Lisa Taylor




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Service          Texas Permanent Injunction - 02/21/2020 - Document                 2.00        $395.00       $790.00
                 Review/Data Analysis/Verification Work / Jody Drebes


Service          Texas Permanent Injunction - 02/21/2020 - Communication or         0.50        $325.00       $162.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/21/2020 - Communication or         1.75        $425.00       $743.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/21/2020 -                          0.50        $325.00       $162.50
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Diane Scott


Service          Texas Permanent Injunction - 02/21/2020 - Communication or         1.75        $395.00       $691.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/21/2020 - Project                  4.00        $395.00      $1,580.00
                 Management & Planning / Megan Annitto


Service          Texas Permanent Injunction - 02/21/2020 - Document                 2.00        $395.00       $790.00
                 Review/Data Analysis/Verification Work / Claudia Tahan


Service          Texas Permanent Injunction - 02/21/2020 - Project                  4.50         $85.00       $382.50
                 Management & Planning / Natalie Nunez


Service          Texas Permanent Injunction - 02/21/2020 - Communication or         0.50         $85.00           $42.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/21/2020 - Document                 5.00        $325.00      $1,625.00
                 Review/Data Analysis/Verification Work / Melea Weber


Service          Texas Permanent Injunction - 02/21/2020 - Document                 0.50        $120.00           $60.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/21/2020 - Document                 4.00        $120.00       $480.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/21/2020 - Document                 2.50        $120.00       $300.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/22/2020 - Document                 0.75        $425.00       $318.75
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/22/2020 - Document                 0.25        $425.00       $106.25
                 Review/Data Analysis/Verification Work / Kevin Ryan




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Service          Texas Permanent Injunction - 02/22/2020 - Document                 0.75        $425.00       $318.75
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/22/2020 - Document                 3.75        $425.00      $1,593.75
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/22/2020 - Project                  1.00        $395.00       $395.00
                 Management & Planning / Eileen Crummy


Service          Texas Permanent Injunction - 02/22/2020 - Document                 0.25        $395.00           $98.75
                 Review/Data Analysis/Verification Work / Eileen Crummy


Service          Texas Permanent Injunction - 02/22/2020 - Document                 6.00        $325.00      $1,950.00
                 Review/Data Analysis/Verification Work / Diane Scott


Service          Texas Permanent Injunction - 02/22/2020 - Document                 3.50        $395.00      $1,382.50
                 Review/Data Analysis/Verification Work / Megan Annitto


Service          Texas Permanent Injunction - 02/22/2020 - Project                  0.50        $395.00       $197.50
                 Management & Planning / Lisa Taylor


Service          Texas Permanent Injunction - 02/23/2020 - Project                  2.50        $425.00      $1,062.50
                 Management & Planning / Kevin Ryan


Service          Texas Permanent Injunction - 02/23/2020 - Project                  0.50        $425.00       $212.50
                 Management & Planning / Kevin Ryan


Service          Texas Permanent Injunction - 02/23/2020 - Document                 0.75        $425.00       $318.75
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/23/2020 - Document                 0.25        $425.00       $106.25
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/23/2020 - Document                 0.75        $425.00       $318.75
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/23/2020 - Document                 5.00        $325.00      $1,625.00
                 Review/Data Analysis/Verification Work / John Ducoff


Service          Texas Permanent Injunction - 02/23/2020 - Document                 1.25        $425.00       $531.25
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/23/2020 - Communication or         1.25        $325.00       $406.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Nadia
                 Sexton


Service          Texas Permanent Injunction - 02/23/2020 - Communication or         1.50        $325.00       $487.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/23/2020 - Document                 4.25        $325.00      $1,381.25
                 Review/Data Analysis/Verification Work / Diane Scott


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Service          Texas Permanent Injunction - 02/23/2020 - Communication or         0.50        $325.00       $162.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/23/2020 - Project                  0.25        $425.00       $106.25
                 Management & Planning / Kevin Ryan


Service          Texas Permanent Injunction - 02/23/2020 - Document                 1.50        $425.00       $637.50
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/23/2020 - Document                 1.25        $325.00       $406.25
                 Review/Data Analysis/Verification Work / David Howard


Service          Texas Permanent Injunction - 02/23/2020 - Communication or         0.25        $325.00           $81.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / David
                 Howard


Service          Texas Permanent Injunction - 02/23/2020 - Document                 1.50        $325.00       $487.50
                 Review/Data Analysis/Verification Work / Diane Scott


Service          Texas Permanent Injunction - 02/23/2020 - Communication or         0.25        $425.00       $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/24/2020 - Communication or         0.25        $325.00           $81.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/24/2020 - Document                 0.75        $325.00       $243.75
                 Review/Data Analysis/Verification Work / Diane Scott


Service          Texas Permanent Injunction - 02/24/2020 - Monitoring               4.00        $175.00       $700.00
                 Administration, Document Control, Research, Analysis
                 (Administrator Only) / Maria Lundgren


Service          Texas Permanent Injunction - 02/24/2020 - Project                  3.50        $325.00      $1,137.50
                 Management & Planning / Melea Weber


Service          Texas Permanent Injunction - 02/24/2020 - Communication or         0.50        $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Eileen Crummy


Service          Texas Permanent Injunction - 02/24/2020 - Document                 2.50        $250.00       $625.00
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/24/2020 - Project                  3.50         $85.00       $297.50
                 Management & Planning / Natalie Nunez


Service          Texas Permanent Injunction - 02/24/2020 - Document                 0.50        $250.00       $125.00
                 Review/Data Analysis/Verification Work / Catherine Smith




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Service          Texas Permanent Injunction - 02/24/2020 - Document                4.50         $325.00      $1,462.50
                 Review/Data Analysis/Verification Work / Nadia Sexton


Service          Texas Permanent Injunction - 02/24/2020 - Document                2.50          $85.00       $212.50
                 Review/Data Analysis/Verification Work / Natalie Nunez


Service          Texas Permanent Injunction - 02/24/2020 - Communication or        0.50         $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
                 Taylor


Service          Texas Permanent Injunction - 02/24/2020 - Document                0.50         $395.00       $197.50
                 Review/Data Analysis/Verification Work / Eileen Crummy


Service          Texas Permanent Injunction - 02/24/2020 - Document                2.00         $395.00       $790.00
                 Review/Data Analysis/Verification Work / Lisa Taylor


Service          Texas Permanent Injunction - 02/24/2020 - Communication or        1.00         $250.00       $250.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/24/2020 - Communication or        0.25         $250.00           $62.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/24/2020 - Communication or        0.75         $395.00       $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Claudia Tahan


Service          Texas Permanent Injunction - 02/24/2020 - Document                3.75         $395.00      $1,481.25
                 Review/Data Analysis/Verification Work / Claudia Tahan


Service          Texas Permanent Injunction - 02/24/2020 - Communication or        0.25         $395.00           $98.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
                 Taylor


Service          Texas Permanent Injunction - 02/24/2020 - Communication or        1.00          $85.00           $85.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/24/2020 - Document                4.00         $325.00      $1,300.00
                 Review/Data Analysis/Verification Work / Melea Weber


Service          Texas Permanent Injunction - 02/24/2020 - Document                2.00         $250.00       $500.00
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/24/2020 - Communication or        0.50         $250.00       $125.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/24/2020 - Communication or        0.75         $395.00       $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas



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Service          Texas Permanent Injunction - 02/24/2020 - Communication or        0.75         $395.00       $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/24/2020 - Project                 0.50         $395.00       $197.50
                 Management & Planning / Charmaine Thomas


Service          Texas Permanent Injunction - 02/24/2020 - Communication or        0.25         $250.00           $62.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/24/2020 - Communication or        0.75         $395.00       $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Jody
                 Drebes


Service          Texas Permanent Injunction - 02/24/2020 - Communication or        0.75         $395.00       $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Jody
                 Drebes


Service          Texas Permanent Injunction - 02/24/2020 - Project                 0.50         $395.00       $197.50
                 Management & Planning / Jody Drebes


Service          Texas Permanent Injunction - 02/24/2020 - Project                 4.50         $395.00      $1,777.50
                 Management & Planning / Jody Drebes


Service          Texas Permanent Injunction - 02/24/2020 - Communication or        0.50         $325.00       $162.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Melea Weber


Service          Texas Permanent Injunction - 02/24/2020 - Communication or        1.50         $395.00       $592.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/24/2020 - Communication or        1.00         $395.00       $395.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/24/2020 - Communication or        1.00         $395.00       $395.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/24/2020 - Document                1.00         $395.00       $395.00
                 Review/Data Analysis/Verification Work / Megan Annitto


Service          Texas Permanent Injunction - 02/24/2020 - Document                1.00         $395.00       $395.00
                 Review/Data Analysis/Verification Work / Megan Annitto


Service          Texas Permanent Injunction - 02/24/2020 - Communication or        2.00         $395.00       $790.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto




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Service          Texas Permanent Injunction - 02/24/2020 - Communication or         1.00        $325.00       $325.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / John
                 Ducoff


Service          Texas Permanent Injunction - 02/24/2020 - Document                 1.25        $395.00       $493.75
                 Review/Data Analysis/Verification Work / Eileen Crummy


Service          Texas Permanent Injunction - 02/24/2020 - Communication or         0.50        $325.00       $162.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/24/2020 - Project                  0.50        $325.00       $162.50
                 Management & Planning / Diane Scott


Service          Texas Permanent Injunction - 02/24/2020 - Communication or         0.50        $325.00       $162.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/24/2020 - Communication or         1.00        $325.00       $325.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/24/2020 - Communication or         0.25        $325.00           $81.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/24/2020 - Document                 1.25        $325.00       $406.25
                 Review/Data Analysis/Verification Work / Diane Scott


Service          Texas Permanent Injunction - 02/24/2020 - Document                 0.25        $425.00       $106.25
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/24/2020 - Communication or         2.00        $395.00       $790.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Claudia Tahan


Service          Texas Permanent Injunction - 02/24/2020 - Document                 2.50        $395.00       $987.50
                 Review/Data Analysis/Verification Work / Charmaine Thomas


Service          Texas Permanent Injunction - 02/24/2020 - Communication or         2.00        $395.00       $790.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/24/2020 - Document                 0.75        $425.00       $318.75
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/24/2020 - Communication or         0.25        $395.00           $98.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Eileen Crummy


Service          Texas Permanent Injunction - 02/24/2020 - Communication or         0.25        $325.00           $81.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / David
                 Howard


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Service          Texas Permanent Injunction - 02/24/2020 - Document                 1.25        $325.00       $406.25
                 Review/Data Analysis/Verification Work / David Howard


Service          Texas Permanent Injunction - 02/24/2020 - Project                  0.50        $250.00       $125.00
                 Management & Planning / Yana Mayevskaya


Service          Texas Permanent Injunction - 02/24/2020 - Document                 0.50        $120.00           $60.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/24/2020 - Project                  0.75        $120.00           $90.00
                 Management & Planning / Oliver Ponce


Service          Texas Permanent Injunction - 02/24/2020 - Document                 1.75        $120.00       $210.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/24/2020 - Document                 3.75        $120.00       $450.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/24/2020 - Document                 0.50        $250.00       $125.00
                 Review/Data Analysis/Verification Work / Yana Mayevskaya


Service          Texas Permanent Injunction - 02/24/2020 - Document                 0.75        $325.00       $243.75
                 Review/Data Analysis/Verification Work / Tim Ross


Service          Texas Permanent Injunction - 02/24/2020 - Document                 0.50        $325.00       $162.50
                 Review/Data Analysis/Verification Work / Tim Ross


Service          Texas Permanent Injunction - 02/24/2020 - Project                  0.75        $325.00       $243.75
                 Management & Planning / Tim Ross


Service          Texas Permanent Injunction - 02/24/2020 - Project                  0.50        $325.00       $162.50
                 Management & Planning / Tim Ross


Service          Texas Permanent Injunction - 02/25/2020 - Communication or         0.25        $425.00       $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/25/2020 - Communication or         0.25        $425.00       $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/25/2020 - Communication or         0.25        $395.00           $98.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/25/2020 - Communication or         0.25        $425.00       $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/25/2020 - Document                 2.25        $250.00       $562.50
                 Review/Data Analysis/Verification Work / Catherine Smith




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Service          Texas Permanent Injunction - 02/25/2020 - Monitoring             0.50         $175.00           $87.50
                 Administration, Document Control, Research, Analysis
                 (Administrator Only) / Maria Lundgren


Service          Texas Permanent Injunction - 02/25/2020 - Communication or       0.50          $85.00           $42.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/25/2020 - Project                4.50          $85.00       $382.50
                 Management & Planning / Natalie Nunez


Service          Texas Permanent Injunction - 02/25/2020 -                        0.25         $395.00           $98.75
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/25/2020 -                        0.25         $395.00           $98.75
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/25/2020 - Communication or       1.00         $395.00       $395.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/25/2020 - Communication or       0.50         $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/25/2020 - Project                2.00         $395.00       $790.00
                 Management & Planning / Megan Annitto


Service          Texas Permanent Injunction - 02/25/2020 - Communication or       1.00          $85.00           $85.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/25/2020 - Communication or       1.00         $250.00       $250.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/25/2020 -                        0.25         $395.00           $98.75
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/25/2020 - Document               0.75         $250.00       $187.50
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/25/2020 - Document               1.50         $395.00       $592.50
                 Review/Data Analysis/Verification Work / Megan Annitto




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Service          Texas Permanent Injunction - 02/25/2020 - Communication or      0.50         $250.00       $125.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/25/2020 - Communication or      0.75         $250.00       $187.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/25/2020 - Communication or      0.75         $395.00       $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/25/2020 - Communication or      0.25         $395.00           $98.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/25/2020 - Document              0.25          $85.00           $21.25
                 Review/Data Analysis/Verification Work / Natalie Nunez


Service          Texas Permanent Injunction - 02/25/2020 - Communication or      1.00         $325.00       $325.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Melea Weber


Service          Texas Permanent Injunction - 02/25/2020 - Document              1.00         $250.00       $250.00
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/25/2020 - Communication or      1.00         $395.00       $395.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Eileen Crummy


Service          Texas Permanent Injunction - 02/25/2020 - Communication or      1.50         $395.00       $592.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Eileen Crummy


Service          Texas Permanent Injunction - 02/25/2020 - Document              0.25         $250.00           $62.50
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/25/2020 - Communication or      1.50         $395.00       $592.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Claudia Tahan


Service          Texas Permanent Injunction - 02/25/2020 - Document              2.50         $395.00       $987.50
                 Review/Data Analysis/Verification Work / Claudia Tahan


Service          Texas Permanent Injunction - 02/25/2020 - Document              4.00         $395.00      $1,580.00
                 Review/Data Analysis/Verification Work / Claudia Tahan


Service          Texas Permanent Injunction - 02/25/2020 - Document              1.75         $395.00       $691.25
                 Review/Data Analysis/Verification Work / Lisa Taylor


Service          Texas Permanent Injunction - 02/25/2020 - Document              0.25         $250.00           $62.50
                 Review/Data Analysis/Verification Work / Catherine Smith



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Service          Texas Permanent Injunction - 02/25/2020 - Communication or         1.00        $395.00       $395.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/25/2020 - Communication or         1.50        $395.00       $592.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/25/2020 - Document                 0.75        $250.00       $187.50
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/25/2020 - Communication or         0.50         $85.00           $42.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/25/2020 - Communication or         1.00        $395.00       $395.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Peggy McHale


Service          Texas Permanent Injunction - 02/25/2020 - Communication or         1.50        $395.00       $592.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Peggy McHale


Service          Texas Permanent Injunction - 02/25/2020 - Document                 0.25        $395.00           $98.75
                 Review/Data Analysis/Verification Work / Peggy McHale


Service          Texas Permanent Injunction - 02/25/2020 - Communication or         1.50        $325.00       $487.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Melea Weber


Service          Texas Permanent Injunction - 02/25/2020 - Communication or         0.50        $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/25/2020 - Document                 7.00        $395.00      $2,765.00
                 Review/Data Analysis/Verification Work / Charmaine Thomas


Service          Texas Permanent Injunction - 02/25/2020 - Document                 4.25        $395.00      $1,678.75
                 Review/Data Analysis/Verification Work / Jody Drebes


Service          Texas Permanent Injunction - 02/25/2020 - Communication or         0.50        $425.00       $212.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/25/2020 - Document                 1.25        $395.00       $493.75
                 Review/Data Analysis/Verification Work / Megan Annitto


Service          Texas Permanent Injunction - 02/25/2020 - Communication or         1.00        $325.00       $325.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott




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Service          Texas Permanent Injunction - 02/25/2020 - Communication or         1.00        $325.00       $325.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/25/2020 - Communication or         1.50        $325.00       $487.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/25/2020 - Document                 2.00        $325.00       $650.00
                 Review/Data Analysis/Verification Work / Diane Scott


Service          Texas Permanent Injunction - 02/25/2020 - Document                 5.00        $325.00      $1,625.00
                 Review/Data Analysis/Verification Work / Melea Weber


Service          Texas Permanent Injunction - 02/25/2020 - Document                 3.00        $325.00       $975.00
                 Review/Data Analysis/Verification Work / Nadia Sexton


Service          Texas Permanent Injunction - 02/25/2020 - Communication or         0.25         $85.00           $21.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/25/2020 - Communication or         0.25        $325.00           $81.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / David
                 Howard


Service          Texas Permanent Injunction - 02/25/2020 - Document                 0.75        $325.00       $243.75
                 Review/Data Analysis/Verification Work / David Howard


Service          Texas Permanent Injunction - 02/25/2020 - Document                 1.50        $120.00       $180.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/25/2020 - Document                 0.75        $120.00           $90.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/25/2020 - Document                 4.50        $120.00       $540.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/25/2020 - Project                  0.75        $120.00           $90.00
                 Management & Planning / Oliver Ponce


Service          Texas Permanent Injunction - 02/25/2020 - Document                 0.75        $325.00       $243.75
                 Review/Data Analysis/Verification Work / Tim Ross


Service          Texas Permanent Injunction - 02/26/2020 - Communication or         0.75        $425.00       $318.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/26/2020 - Project                  6.00         $85.00       $510.00
                 Management & Planning / Natalie Nunez




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Service          Texas Permanent Injunction - 02/26/2020 - Communication or         0.25        $425.00       $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/26/2020 - Document                 1.75        $250.00       $437.50
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/26/2020 - Communication or         0.50        $250.00       $125.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/26/2020 - Document                 1.00        $250.00       $250.00
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/26/2020 - Monitoring               0.50        $175.00           $87.50
                 Administration, Document Control, Research, Analysis
                 (Administrator Only) / Maria Lundgren


Service          Texas Permanent Injunction - 02/26/2020 - Communication or         0.75         $85.00           $63.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/26/2020 - Document                 0.50        $425.00       $212.50
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/26/2020 - Document                 0.75        $250.00       $187.50
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/26/2020 - Communication or         1.00        $395.00       $395.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/26/2020 - Project                  2.25        $395.00       $888.75
                 Management & Planning / Charmaine Thomas


Service          Texas Permanent Injunction - 02/26/2020 - Document                 2.25        $395.00       $888.75
                 Review/Data Analysis/Verification Work / Charmaine Thomas


Service          Texas Permanent Injunction - 02/26/2020 - Communication or         0.25        $395.00           $98.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/26/2020 - Communication or         0.50        $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/26/2020 - Document                 4.50        $395.00      $1,777.50
                 Review/Data Analysis/Verification Work / Jody Drebes


Service          Texas Permanent Injunction - 02/26/2020 - Communication or         1.75        $395.00       $691.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Jody
                 Drebes



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Service          Texas Permanent Injunction - 02/26/2020 - Document                 4.00        $325.00      $1,300.00
                 Review/Data Analysis/Verification Work / Nadia Sexton


Service          Texas Permanent Injunction - 02/26/2020 - Communication or         2.25        $395.00       $888.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Claudia Tahan


Service          Texas Permanent Injunction - 02/26/2020 - Document                 4.75        $395.00      $1,876.25
                 Review/Data Analysis/Verification Work / Claudia Tahan


Service          Texas Permanent Injunction - 02/26/2020 - Communication or         0.25        $425.00       $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/26/2020 - Communication or         0.50        $425.00       $212.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/26/2020 - Document                 4.25        $425.00      $1,806.25
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/26/2020 - Document                 5.00        $395.00      $1,975.00
                 Review/Data Analysis/Verification Work / Eileen Crummy


Service          Texas Permanent Injunction - 02/26/2020 - Project                  2.25        $395.00       $888.75
                 Management & Planning / Lisa Taylor


Service          Texas Permanent Injunction - 02/26/2020 - Document                 0.25        $395.00           $98.75
                 Review/Data Analysis/Verification Work / Lisa Taylor


Service          Texas Permanent Injunction - 02/26/2020 - Communication or         0.25        $395.00           $98.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
                 Taylor


Service          Texas Permanent Injunction - 02/26/2020 - Project                  0.25        $395.00           $98.75
                 Management & Planning / Lisa Taylor


Service          Texas Permanent Injunction - 02/26/2020 - Document                 1.25        $395.00       $493.75
                 Review/Data Analysis/Verification Work / Lisa Taylor


Service          Texas Permanent Injunction - 02/26/2020 - Communication or         0.50        $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/26/2020 - Communication or         0.50        $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/26/2020 - Communication or         1.00        $395.00       $395.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto




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Service          Texas Permanent Injunction - 02/26/2020 - Communication or         3.00        $395.00      $1,185.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/26/2020 - Communication or         0.25        $395.00           $98.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/26/2020 - Project                  2.75        $395.00      $1,086.25
                 Management & Planning / Megan Annitto


Service          Texas Permanent Injunction - 02/26/2020 - Communication or         0.25        $325.00           $81.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/26/2020 - Communication or         1.00        $325.00       $325.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/26/2020 - Communication or         0.25        $325.00           $81.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/26/2020 - Report and               0.50        $325.00       $162.50
                 Document Preparation / Diane Scott


Service          Texas Permanent Injunction - 02/26/2020 - Report and               1.50        $325.00       $487.50
                 Document Preparation / Diane Scott


Service          Texas Permanent Injunction - 02/26/2020 - Document                 1.50        $325.00       $487.50
                 Review/Data Analysis/Verification Work / Diane Scott


Service          Texas Permanent Injunction - 02/26/2020 - Communication or         3.00        $250.00       $750.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/26/2020 - Communication or         0.50        $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/26/2020 - Communication or         0.25         $85.00           $21.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/26/2020 - Document                 7.00        $325.00      $2,275.00
                 Review/Data Analysis/Verification Work / Melea Weber


Service          Texas Permanent Injunction - 02/26/2020 - Document                 2.00        $325.00       $650.00
                 Review/Data Analysis/Verification Work / David Howard


Service          Texas Permanent Injunction - 02/26/2020 - Document                 0.75        $250.00       $187.50
                 Review/Data Analysis/Verification Work / Yana Mayevskaya



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Service          Texas Permanent Injunction - 02/26/2020 - Project               0.75         $120.00           $90.00
                 Management & Planning / Oliver Ponce


Service          Texas Permanent Injunction - 02/26/2020 - Document              4.50         $120.00       $540.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/26/2020 - Document              0.75         $325.00       $243.75
                 Review/Data Analysis/Verification Work / Tim Ross


Service          Texas Permanent Injunction - 02/26/2020 - Project               0.75         $120.00           $90.00
                 Management & Planning / Oliver Ponce


Service          Texas Permanent Injunction - 02/26/2020 - Project               0.75         $325.00       $243.75
                 Management & Planning / Tim Ross


Service          Texas Permanent Injunction - 02/26/2020 - Document              0.50         $250.00       $125.00
                 Review/Data Analysis/Verification Work / Yana Mayevskaya


Service          Texas Permanent Injunction - 02/26/2020 - Project               0.75         $250.00       $187.50
                 Management & Planning / Yana Mayevskaya


Service          Texas Permanent Injunction - 02/26/2020 - Document              0.75         $325.00       $243.75
                 Review/Data Analysis/Verification Work / Tim Ross


Service          Texas Permanent Injunction - 02/26/2020 - Document              0.75         $120.00           $90.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/26/2020 - Project               0.75         $120.00           $90.00
                 Management & Planning / Oliver Ponce


Service          Texas Permanent Injunction - 02/27/2020 - Project               1.00         $395.00       $395.00
                 Management & Planning / Megan Annitto


Service          Texas Permanent Injunction - 02/27/2020 - Communication or      0.50         $325.00       $162.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Melea Weber


Service          Texas Permanent Injunction - 02/27/2020 - Monitoring            2.00         $175.00       $350.00
                 Administration, Document Control, Research, Analysis
                 (Administrator Only) / Maria Lundgren


Service          Texas Permanent Injunction - 02/27/2020 - Communication or      1.00         $250.00       $250.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/27/2020 - Document              0.50         $250.00       $125.00
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/27/2020 - Project               0.75         $395.00       $296.25
                 Management & Planning / Megan Annitto




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Service          Texas Permanent Injunction - 02/27/2020 - Communication or         0.25        $395.00           $98.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/27/2020 - Communication or         0.75        $325.00       $243.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Nadia
                 Sexton


Service          Texas Permanent Injunction - 02/27/2020 - Document                 0.75        $250.00       $187.50
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/27/2020 - Project                  1.00        $250.00       $250.00
                 Management & Planning / Catherine Smith


Service          Texas Permanent Injunction - 02/27/2020 - Communication or         0.50        $325.00       $162.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/27/2020 - Communication or         4.25        $395.00      $1,678.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
                 Taylor


Service          Texas Permanent Injunction - 02/27/2020 - Communication or         0.75        $325.00       $243.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/27/2020 - Communication or         0.25        $325.00           $81.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Diane
                 Scott


Service          Texas Permanent Injunction - 02/27/2020 - Communication or         1.00        $395.00       $395.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/27/2020 - Document                 0.50        $250.00       $125.00
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/27/2020 - Document                 2.00        $325.00       $650.00
                 Review/Data Analysis/Verification Work / Nadia Sexton


Service          Texas Permanent Injunction - 02/27/2020 - Document                 0.50        $250.00       $125.00
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/27/2020 - Communication or         1.00        $395.00       $395.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/27/2020 - Communication or         4.25        $395.00      $1,678.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Eileen Crummy


Service          Texas Permanent Injunction - 02/27/2020 - Document                 0.25        $250.00           $62.50
                 Review/Data Analysis/Verification Work / Catherine Smith


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Service          Texas Permanent Injunction - 02/27/2020 - Communication or         1.00         $85.00           $85.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/27/2020 -                          0.50        $395.00       $197.50
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges or barriers to data and information /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/27/2020 - Document                 1.50        $250.00       $375.00
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/27/2020 - Communication or         0.75        $250.00       $187.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/27/2020 - Communication or         0.25        $250.00           $62.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/27/2020 - Communication or         1.00        $425.00       $425.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/27/2020 - Document                 0.50        $425.00       $212.50
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/27/2020 - Document                 0.25        $425.00       $106.25
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/27/2020 - Communication or         0.50        $425.00       $212.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/27/2020 - Project                  5.50         $85.00       $467.50
                 Management & Planning / Natalie Nunez


Service          Texas Permanent Injunction - 02/27/2020 - Document                 0.75        $395.00       $296.25
                 Review/Data Analysis/Verification Work / Lisa Taylor


Service          Texas Permanent Injunction - 02/27/2020 - Communication or         0.25        $395.00           $98.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/27/2020 - Communication or         1.00        $395.00       $395.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/27/2020 - Document                 0.50        $425.00       $212.50
                 Review/Data Analysis/Verification Work / Kevin Ryan




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Service          Texas Permanent Injunction - 02/27/2020 - Communication or        0.75         $395.00       $296.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/27/2020 - Communication or        0.50          $85.00           $42.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/27/2020 - Document                2.75         $395.00      $1,086.25
                 Review/Data Analysis/Verification Work / Jody Drebes


Service          Texas Permanent Injunction - 02/27/2020 - Communication or        1.50         $395.00       $592.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Jody
                 Drebes


Service          Texas Permanent Injunction - 02/27/2020 - Document                6.50         $325.00      $2,112.50
                 Review/Data Analysis/Verification Work / Melea Weber


Service          Texas Permanent Injunction - 02/27/2020 - Document                1.00         $325.00       $325.00
                 Review/Data Analysis/Verification Work / David Howard


Service          Texas Permanent Injunction - 02/27/2020 - Communication or        1.00         $395.00       $395.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/27/2020 - Communication or        1.00         $395.00       $395.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/27/2020 - Document                3.75         $395.00      $1,481.25
                 Review/Data Analysis/Verification Work / Charmaine Thomas


Service          Texas Permanent Injunction - 02/27/2020 - Communication or        0.25         $395.00           $98.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/27/2020 - Communication or        1.50         $395.00       $592.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/27/2020 - Communication or        0.50         $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/27/2020 - Communication or        0.25         $395.00           $98.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/27/2020 - Document                0.75         $120.00           $90.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/27/2020 - Document                0.75         $325.00       $243.75
                 Review/Data Analysis/Verification Work / Tim Ross


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Service          Texas Permanent Injunction - 02/27/2020 -                         0.75         $325.00       $243.75
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges to barriers to data and information / Tim
                 Ross


Service          Texas Permanent Injunction - 02/27/2020 - Document                0.25         $250.00           $62.50
                 Review/Data Analysis/Verification Work / Yana Mayevskaya


Service          Texas Permanent Injunction - 02/27/2020 - Document                1.00         $325.00       $325.00
                 Review/Data Analysis/Verification Work / Tim Ross


Service          Texas Permanent Injunction - 02/27/2020 - Project                 0.75         $120.00           $90.00
                 Management & Planning / Oliver Ponce


Service          Texas Permanent Injunction - 02/27/2020 -                         1.00         $120.00       $120.00
                 Addressing/managing/attempting to resolve DFPS/HHSC
                 technology challenges to barriers to data and information /
                 Oliver Ponce


Service          Texas Permanent Injunction - 02/27/2020 - Document                1.00         $120.00       $120.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/27/2020 - Document                1.50         $325.00       $487.50
                 Review/Data Analysis/Verification Work / Tim Ross


Service          Texas Permanent Injunction - 02/27/2020 - Document                3.25         $120.00       $390.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/27/2020 - Document                0.75         $120.00           $90.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/28/2020 - Document                0.75         $395.00       $296.25
                 Review/Data Analysis/Verification Work / Eileen Crummy


Service          Texas Permanent Injunction - 02/28/2020 - Document                1.00         $395.00       $395.00
                 Review/Data Analysis/Verification Work / Megan Annitto


Service          Texas Permanent Injunction - 02/28/2020 - Monitoring              0.75         $175.00       $131.25
                 Administration, Document Control, Research, Analysis
                 (Administrator Only) / Maria Lundgren


Service          Texas Permanent Injunction - 02/28/2020 - Project                 0.25         $395.00           $98.75
                 Management & Planning / Eileen Crummy


Service          Texas Permanent Injunction - 02/28/2020 - Document                4.00         $250.00      $1,000.00
                 Review/Data Analysis/Verification Work / Catherine Smith


Service          Texas Permanent Injunction - 02/28/2020 - Communication or        2.75         $250.00       $687.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith




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Service          Texas Permanent Injunction - 02/28/2020 - Document                 1.50        $395.00       $592.50
                 Review/Data Analysis/Verification Work / Claudia Tahan


Service          Texas Permanent Injunction - 02/28/2020 - Document                 5.00        $325.00      $1,625.00
                 Review/Data Analysis/Verification Work / Nadia Sexton


Service          Texas Permanent Injunction - 02/28/2020 - Document                 2.25        $395.00       $888.75
                 Review/Data Analysis/Verification Work / Jody Drebes


Service          Texas Permanent Injunction - 02/28/2020 - Communication or         0.50        $250.00       $125.00
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Catherine Smith


Service          Texas Permanent Injunction - 02/28/2020 - Communication or         0.50        $325.00       $162.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Melea Weber


Service          Texas Permanent Injunction - 02/28/2020 - Document                 5.50        $325.00      $1,787.50
                 Review/Data Analysis/Verification Work / Melea Weber


Service          Texas Permanent Injunction - 02/28/2020 - Project                  6.75         $85.00       $573.75
                 Management & Planning / Natalie Nunez


Service          Texas Permanent Injunction - 02/28/2020 - Communication or         2.75        $395.00      $1,086.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/28/2020 - Communication or         0.25        $395.00           $98.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/28/2020 - Communication or         0.50        $395.00       $197.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/28/2020 - Communication or         0.25        $395.00           $98.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/28/2020 - Communication or         0.25         $85.00           $21.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Natalie Nunez


Service          Texas Permanent Injunction - 02/28/2020 - Project                  0.50        $395.00       $197.50
                 Management & Planning / Megan Annitto


Service          Texas Permanent Injunction - 02/28/2020 - Communication or         0.25        $425.00       $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/28/2020 - Communication or         0.25        $425.00       $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


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Service          Texas Permanent Injunction - 02/28/2020 - Document                 2.75        $425.00      $1,168.75
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/28/2020 - Document                 0.25        $425.00       $106.25
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/28/2020 - Document                 0.25        $425.00       $106.25
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/28/2020 - Communication or         1.25        $395.00       $493.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Charmaine Thomas


Service          Texas Permanent Injunction - 02/28/2020 - Project                  1.00        $250.00       $250.00
                 Management & Planning / Yana Mayevskaya


Service          Texas Permanent Injunction - 02/28/2020 - Document                 4.00        $120.00       $480.00
                 Review/Data Analysis/Verification Work / Oliver Ponce


Service          Texas Permanent Injunction - 02/28/2020 - Project                  1.00        $325.00       $325.00
                 Management & Planning / Tim Ross


Service          Texas Permanent Injunction - 02/28/2020 - Project                  1.00        $120.00       $120.00
                 Management & Planning / Oliver Ponce


Service          Texas Permanent Injunction - 02/29/2020 - Communication or         1.50        $395.00       $592.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff /
                 Megan Annitto


Service          Texas Permanent Injunction - 02/29/2020 - Document                 1.50        $395.00       $592.50
                 Review/Data Analysis/Verification Work / Megan Annitto


Service          Texas Permanent Injunction - 02/29/2020 - Project                  0.50        $395.00       $197.50
                 Management & Planning / Megan Annitto


Service          Texas Permanent Injunction - 02/29/2020 - Project                  0.50        $425.00       $212.50
                 Management & Planning / Kevin Ryan


Service          Texas Permanent Injunction - 02/29/2020 - Document                 2.75        $425.00      $1,168.75
                 Review/Data Analysis/Verification Work / Kevin Ryan


Service          Texas Permanent Injunction - 02/29/2020 - Communication or         0.50        $425.00       $212.50
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/29/2020 - Communication or         0.25        $425.00       $106.25
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Kevin
                 Ryan


Service          Texas Permanent Injunction - 02/29/2020 - Document                 1.50        $425.00       $637.50
                 Review/Data Analysis/Verification Work / Kevin Ryan




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Service          Texas Permanent Injunction - 02/29/2020 - Document                0.75         $395.00       $296.25
                 Review/Data Analysis/Verification Work / Lisa Taylor


Service          Texas Permanent Injunction - 02/29/2020 - Communication or        0.25         $395.00           $98.75
                 Meeting with the Court, a Party, Monitor/Monitors’ Staff / Lisa
                 Taylor


Service          Texas Permanent Injunction - 02/29/2020 - Document                3.50         $325.00      $1,137.50
                 Review/Data Analysis/Verification Work / John Ducoff


Service          Texas Permanent Injunction - 02/29/2020 - Document                1.00         $395.00       $395.00
                 Review/Data Analysis/Verification Work / Lisa Taylor


Service          Texas Permanent Injunction - 02/29/2020 - Document                2.25         $325.00       $731.25
                 Review/Data Analysis/Verification Work / David Howard


Service          Texas Permanent Injunction - 02/29/2020 - Project                 0.50         $325.00       $162.50
                 Management & Planning / David Howard


Service          Texas Travel Permanent Injunction - 02/04/2020 - Travel / Lisa    5.00         $197.50       $987.50
                 Taylor


Service          Texas Travel Permanent Injunction - 02/04/2020 - Travel /         5.00         $197.50       $987.50
                 Eileen Crummy


Service          Texas Travel Permanent Injunction - 02/06/2020 - Travel / Lisa    6.50         $197.50      $1,283.75
                 Taylor


Service          Texas Travel Permanent Injunction - 02/06/2020 - Travel /         5.50         $197.50      $1,086.25
                 Eileen Crummy


Service          Texas Travel Permanent Injunction - 02/18/2020 - Travel /         3.75         $212.50       $796.88
                 Kevin Ryan


Service          Texas Travel Permanent Injunction - 02/19/2020 - Travel /         7.50         $212.50      $1,593.75
                 Kevin Ryan


Expense          Texas Travel Permanent Injunction - 02/04/2020 - Travel:          1.00          $66.00           $66.00
                 Ground Transportation / Eileen Crummy


Expense          Texas Travel Permanent Injunction - 02/04/2020 - Travel:          1.00         $406.80       $406.80
                 Airfare / Lisa Taylor


Expense          Texas Travel Permanent Injunction - 02/04/2020 - Travel:          1.00         $571.80       $571.80
                 Airfare / Eileen Crummy


Expense          Texas Travel Permanent Injunction - 02/04/2020 - Travel:          1.00         $894.10       $894.10
                 Airfare / Megan Annitto


Expense          Texas Travel Permanent Injunction - 02/04/2020 - Travel:          1.00          $28.94           $28.94
                 Meals / Lisa Taylor




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Expense      Texas Travel Permanent Injunction - 02/04/2020 - Travel:        1.00           $9.99            $9.99
             Ground Transportation / Lisa Taylor


Expense      Texas Travel Permanent Injunction - 02/04/2020 - Travel:        1.00          $23.87           $23.87
             Ground Transportation / Megan Annitto


Expense      Texas Travel Permanent Injunction - 02/04/2020 - Travel:        1.00          $32.10           $32.10
             Ground Transportation / Megan Annitto


Expense      Texas Travel Permanent Injunction - 02/05/2020 - Travel:        1.00          $13.94           $13.94
             Meals / Lisa Taylor


Expense      Texas Travel Permanent Injunction - 02/05/2020 - Travel:        1.00          $25.65           $25.65
             Meals / Lisa Taylor


Expense      Texas Travel Permanent Injunction - 02/05/2020 - Travel:        1.00          $13.94           $13.94
             Meals / Eileen Crummy


Expense      Texas Travel Permanent Injunction - 02/05/2020 - Travel:        1.00          $13.94           $13.94
             Meals / Eileen Crummy


Expense      Texas Travel Permanent Injunction - 02/05/2020 - Travel:        1.00          $13.01           $13.01
             Ground Transportation / Megan Annitto


Expense      Texas Travel Permanent Injunction - 02/05/2020 - Travel:        1.00         $420.14       $420.14
             Hotels / Megan Annitto


Expense      Texas Travel Permanent Injunction - 02/05/2020 - Travel:        1.00          $34.94           $34.94
             Meals / Megan Annitto


Expense      Texas Travel Permanent Injunction - 02/06/2020 - Travel:        1.00          $66.00           $66.00
             Ground Transportation / Eileen Crummy


Expense      Texas Travel Permanent Injunction - 02/06/2020 - Travel:        1.00         $364.58       $364.58
             Hotels / Eileen Crummy


Expense      Texas Travel Permanent Injunction - 02/06/2020 - Travel:        1.00         $198.76       $198.76
             Ground Transportation / Lisa Taylor


Expense      Texas Travel Permanent Injunction - 02/06/2020 - Travel:        1.00         $372.24       $372.24
             Hotels / Lisa Taylor


Expense      Texas Travel Permanent Injunction - 02/06/2020 - Travel:        1.00          $34.89           $34.89
             Ground Transportation / Lisa Taylor


Expense      Texas Travel Permanent Injunction - 02/06/2020 - Travel:        1.00          $13.94           $13.94
             Meals / Eileen Crummy


Expense      Texas Travel Permanent Injunction - 02/06/2020 - Travel:        1.00          $10.82           $10.82
             Ground Transportation / Lisa Taylor




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Expense      Texas Travel Permanent Injunction - 02/06/2020 - Travel:        1.00          $42.66           $42.66
             Ground Transportation / Megan Annitto


Expense      Texas Travel Permanent Injunction - 02/06/2020 - Travel:        1.00          $33.74           $33.74
             Ground Transportation / Megan Annitto


Expense      Texas Travel Permanent Injunction - 02/06/2020 - Travel:        1.00          $12.98           $12.98
             Meals / Megan Annitto


Expense      Texas Travel Permanent Injunction - 02/18/2020 - Travel:        1.00         $300.80        $300.80
             Airfare / Kevin Ryan


Expense      Texas Travel Permanent Injunction - 02/18/2020 - Travel:        1.00          $75.30           $75.30
             Ground Transportation / Kevin Ryan


Expense      Texas Travel Permanent Injunction - 02/18/2020 - Travel:        1.00          $20.52           $20.52
             Meals / Kevin Ryan


Expense      Texas Travel Permanent Injunction - 02/19/2020 - Travel:        1.00          $22.25           $22.25
             Mileage / Kevin Ryan


Expense      Texas Travel Permanent Injunction - 02/19/2020 - Travel:        1.00         $148.25        $148.25
             Hotels / Kevin Ryan


Expense      Texas Travel Permanent Injunction - 02/19/2020 - Travel:        1.00          $37.90           $37.90
             Ground Transportation / Kevin Ryan


Expense      Texas Travel Permanent Injunction - 02/19/2020 - Travel:        1.00          $58.50           $58.50
             Parking and Tolls / Kevin Ryan


                                                                                    Amount Due      $466,452.67




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